                                                                                      Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 1 of 87



                                                                                 1 Matthew E. Lewitz (SBN 325379)
                                                                                    mlewitz@cozen.com
                                                                                 2 COZEN O’CONNOR
                                                                                   401 Wilshire Boulevard, Suite 850
                                                                                 3 Santa Monica, CA 90401
                                                                                   T: (213) 892-7937
                                                                                 4 F: (310) 394-4700

                                                                                 5 Michael A. Fernández (Pro Hac Vice)
                                                                                    mfernandez@cozen.com
                                                                                 6 COZEN O’CONNOR
                                                                                   3 WTC, 175 Greenwich Street 55th Floor
                                                                                 7 New York, NY 10017
                                                                                   T: (212) 453-3713
                                                                                 8 F: (646) 461-2075

                                                                                 9 Attorneys for Non-Party
                                                                                   X Corp. Account Holders,
                                                                                10 John Doe 1 a.k.a @FreddyOliviery;
                                                                                   John Doe 2 a.ka. @PonchoGutz;
                                                                                11 Meta Account Holders,
                                                                                   John Doe 3 a.k.a. “Luis Guillermo Hernández”;
                                                                                12 John Doe 4 a.k.a. “Hans Salazar”; and
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                   Google LLC Account Holder,
COZEN O’ CONNOR




                                                                                13 John Doe 5 a.k.a. “SinCensuraTVMedia”
                                                        LOS ANGELES, CA 90017




                                                                                14
                                                                                                                UNITED STATES DISTRICT COURT
                                                                                15
                                                                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                                16

                                                                                17 In re Application of BANCO AZTECA S.A.                   Case 5:24-mc-80091-NC
                                                                                   INSTITUCIÓN DE BANCA MÚLTIPLE, for an
                                                                                18 Order Pursuant to 28 U.S.C. § 1782 Authorizing           DECLARATION OF MICHAEL A.
                                                                                   Discovery for Use in a Foreign Proceeding                FERNÁNDEZ IN SUPPORT OF NON-
                                                                                19
                                                                                                                                            PARTY X, META AND GOOGLE
                                                                                20                                                          ACCOUNT HOLDERS’ MOTION TO
                                                                                                                                            QUASH AND/OR FOR PROTECTIVE
                                                                                21                                                          ORDER
                                                                                22

                                                                                23

                                                                                24         I, Michael A. Fernández, declare under the penalty of perjury:
                                                                                25         1.     I am an attorney licensed to practice law in the State of New York and admitted to
                                                                                26 practice before this Court pro hac vice, and am a member with the law firm of Cozen O’Connor,

                                                                                27
                                                                                                                           1
                                                                                28               DECLARATION OF MICHAEL A. FERNÁNDEZ IN SUPPORT OF
                                                                                                 NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’S
                                                                                                   MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER
                                                                                                                CASE 5:24-mc-80091-NC
                                                                                      Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 2 of 87



                                                                                 1 counsel for Non-Party X Corp., Meta and Google LLC Account Holders, John Does 1-5, in this

                                                                                 2 matter (the “Non-Party Movants” or “Affected Account Holders”).

                                                                                 3          2.     I make this Declaration in support of the Non-Party Movants’ Motion to Quash

                                                                                 4 and/or for Protective Order.

                                                                                 5          3.     I am over the age of 18, and have personal knowledge of the facts contained herein,

                                                                                 6 except where stated upon information and belief, which facts I believe to be true, and, if called as

                                                                                 7 a witness in this proceeding, could and would competently testify thereto.

                                                                                 8          4.     On July 28, 2024, I emailed counsel for Applicant Banco Azteca, S.A. Institución

                                                                                 9 de Banca Múltiple (“Banco Azteca”), along with counsel for all of the interested social media

                                                                                10 platforms, inquiring whether the parties would consent to or at least agree to not oppose a motion

                                                                                11 for an extension of time by the Affected Account Holders to respond to Banco Azteca’s Notice of

                                                                                12 Application and Ex Parte Application for an Order Pursuant to 28 U.S.C. §1782 Authorizing
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 Discovery for Use in a Foreign proceeding. (ECF No. 1.) Mike Hurvitz at the law firm of Nelson
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 Mullins Riley & Scarborough LLP (“NMRS”), counsel of record to Banco Azteca, responded to

                                                                                15 my email, asking to know which “affected account holders” I represent “and on which

                                                                                16 platform(s)?” I subsequently responded specifying the usernames of the Affected Account

                                                                                17 Holders. To my surprise, Mr. Hurvitz responded by stating that “you have not disclosed the

                                                                                18 identities of your clients.” I then responded by noting that the practice in the Northern District of

                                                                                19 California has been for social media users to appear in similar cases without disclosing their

                                                                                20 identity. A true and correct copy of my above-described email exchange withBanco Azteca’s

                                                                                21 attorneys is attached as Exhibit (“Ex.”) A.

                                                                                22          5.     Since August 13, 2024, I have requested on multiple occasions a copy of the

                                                                                23 criminal complaint that was purportedly filed by Banco Azteca in the State of Jalisco, Mexico.

                                                                                24 True and correct copies of the email exchange between Banco Azteca’s attorneys and myself

                                                                                25 wherein I made such requests are attached as Exs. B-D.

                                                                                26          6.     On August 13, 2024, I emailed Banco Azteca’s counsel noting that “[e]xtensive

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                                                                                28                 DECLARATION OF MICHAEL A. FERNÁNDEZ IN SUPPORT OF
                                                                                                   NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’S
                                                                                                     MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER
                                                                                                                  CASE 5:24-mc-80091-NC
                                                                                      Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 3 of 87



                                                                                 1 reference is made in Banco Azteca’s 1782 Application to ‘a criminal complaint, which was

                                                                                 2 registered under investigation folder number 5101/202254 of Agency 4 of Bulk Processing of the

                                                                                 3 Public Prosecutor’s Office of the State of Jalisco’ filed on January 19, 2024.” (Ex. B.) I then

                                                                                 4 inquired whether Banco Azteca would “provide the parties with the alleged criminal complaint as

                                                                                 5 well as the subsequent filings.” (Id.)

                                                                                 6         7.         On August 14, 2024, I received a response from Mr. Hurvitz simply stating that

                                                                                 7 “We are not able to provide you with the criminal complaint and/or subsequent filings.” (Id.)

                                                                                 8         8.         After some additional follow-up over e-mail, I had a conversation with John

                                                                                 9 Veysey at the law firm of NMRS on August 19, 2024 in which, among other things, we discussed

                                                                                10 the basis for Banco Azteca’s decision to withhold the criminal complaint. (Id.)

                                                                                11         9.         Following the August 19, 2024 conversation, I sent an email to NMRS raising

                                                                                12 concerns about the filing of a criminal proceeding against the Affected Account Holders in Jalisco,
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 Mexico. Id. In that connection, I referenced the following articles:
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14               a.    Simon Schatzberg, Jalisco identified as a 'red flag' for judicial corruption,

                                                                                15                    MEXICO NEWS DAILY, May 16, 2019. A true and correct PDF print-out of the

                                                                                16                    article is attached as Ex. E.

                                                                                17               b. Fernando Pérez-Lozada, Denial of Justice by Mexican Courts to Canadian

                                                                                18                    Investment Fund under NAFTA: the First of its Kind, Kluwer Arbitration Blog, Oct.

                                                                                19                    30, 2021. A true and correct PDF of the article is attached as Ex. F.

                                                                                20         10.        In a response explaining why Banco Azteca was unwilling to share the criminal

                                                                                21 complaint, Mr. Veysey stated on August 20, 2024 that “[w]e understand the authorities in Mexico

                                                                                22 have an ongoing investigation. For obvious reasons, my team is not involved in that investigation.

                                                                                23 We are not prepared to collect and share information with your clients about that investigation,

                                                                                24 and we will not do so.” (Ex. C.)

                                                                                25         11.        Subsequently, there have been further exchanges between the parties as to whether

                                                                                26 Banco Azteca would provide additional information about the criminal matter purportedly pending

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                                                                                28                    DECLARATION OF MICHAEL A. FERNÁNDEZ IN SUPPORT OF
                                                                                                      NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’S
                                                                                                        MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER
                                                                                                                     CASE 5:24-mc-80091-NC
                                                                                      Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 4 of 87



                                                                                 1 in Mexico. (E.g., Exs. C-D.)

                                                                                 2         12.      On September 11, 2024, I sent an email inquiring whether NMRS has “at a

                                                                                 3 minimum, confirmed whether the accounts of John Does 1-5 for which Banco Azteca is seeking

                                                                                 4 information actually are referenced/named in the criminal complaint in Mexico?” (Ex. E.) In my

                                                                                 5 e-mail, I also asked Banco Azteca to provide clarification regarding its statement that “has

                                                                                 6 commenced a civil action against certain individuals.” (Id.) To date, Banco Azteca has not

                                                                                 7 responded to this email or shared a copy of any documents filed in connection with the criminal

                                                                                 8 proceeding referenced in Banco Azteca’s Amended Notice of Application and Amended Ex Parte

                                                                                 9 Application for an Order Pursuant to 28 U.S.C. § 1782 Authorizing Discovery for Use in a

                                                                                10 Foreign Proceeding, ECF No. 39.

                                                                                11         13.      For the Court’s convenience, I am attaching as exhibits to this declaration several

                                                                                12 articles referenced in the Non-Party Movants’ Memorandum of Points and Authorities:
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                                 a. Santiago Pérez, Mexican Tycoon’s Retail Chain Ordered to Pay $1 Billion in Back
COZEN O’ CONNOR




                                                                                13
                                                        LOS ANGELES, CA 90017




                                                                                14                  Taxes, WALL ST. J., June 13, 2024. A true and correct PDF print-out of the article is

                                                                                15                  attached as Ex. G.

                                                                                16               b. José de Córdoba and Santiago Pérez, Combative Billionaire’s Bank Accused of

                                                                                17                  Bribing a Texas Democrat, WALL ST. J., May 8, 2024. A true and correct PDF

                                                                                18                  print-out of the article is attached as Ex. H.

                                                                                19               c. Fitch Downgrades Banco Azteca's IDRs to 'BB-'; Outlook Stable, FITCH RATINGS,

                                                                                20                  Mar. 24, 2024. A true and correct PDF print-out of the article is attached as Ex. I.

                                                                                21               d. Internet Freedom and Technology and Human Rights, U.S. DEP’T OF STATE. A true

                                                                                22                  and correct PDF print-out of the webpage created on September 16, 2024 is

                                                                                23                  attached as Ex. J.

                                                                                24               e. Hon. Hillary Rodham Clinton, Remarks on Internet Freedom, U.S. DEP’T OF STATE

                                                                                25                  (Jan 21. 2020). A true and correct PDF print-out of the speech is attached as Ex. K.

                                                                                26

                                                                                27
                                                                                                                             4
                                                                                28                 DECLARATION OF MICHAEL A. FERNÁNDEZ IN SUPPORT OF
                                                                                                   NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’S
                                                                                                     MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER
                                                                                                                  CASE 5:24-mc-80091-NC
                                                                                      Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 5 of 87



                                                                                 1         I declare under penalty of perjury under the laws of the States of New York and California,

                                                                                 2 and the United States of America, that the foregoing is true and correct.

                                                                                 3         Executed on this 17th day of September, 2024, at New York, New York.

                                                                                 4

                                                                                 5 DATED: September 17, 2024                            Respectfully submitted,

                                                                                 6                                               By:     /s/ Michael A. Fernández
                                                                                 7                                                       Michael A. Fernández (Pro Hac Vice)
                                                                                                                                         mfernandez@cozen.com
                                                                                 8                                                       COZEN O’CONNOR
                                                                                                                                         3 WTC, 175 Greenwich Street
                                                                                 9                                                       55th Floor
                                                                                                                                         New York, NY 10017
                                                                                10                                                       T: (212) 453-3713
                                                                                                                                         F: (646) 461-2075
                                                                                11
                                                                                                                                         Attorneys for Non-Party
                                                                                12                                                       X Account Holders,
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                                                                         John Doe 1 a.k.a @FreddyOliviery;
COZEN O’ CONNOR




                                                                                13                                                       John Doe 2 a.ka. @PonchoGutz;
                                                        LOS ANGELES, CA 90017




                                                                                                                                         Meta Account Holders,
                                                                                14                                                       John Doe 3 a.k.a. “Luis Guillermo
                                                                                                                                         Hernández”;
                                                                                15                                                       John Doe 4 a.k.a. “Hans Salazar”; and
                                                                                                                                         Google LLC Account Holder,
                                                                                16                                                       John Doe 5 a.k.a. “SinCensuraTVMedia”
                                                                                17

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                                                                                28                DECLARATION OF MICHAEL A. FERNÁNDEZ IN SUPPORT OF
                                                                                                  NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’S
                                                                                                    MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER
                                                                                                                 CASE 5:24-mc-80091-NC
Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 6 of 87




   EXHIBIT A
                                                                                                                                                                                                         Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 7 of 87


Fernandez, Michael

From:                                                                                                                                                                                                                                                                          Fernandez, Michael
Sent:                                                                                                                                                                                                                                                                          Monday, August 5, 2024 4:07 PM
To:                                                                                                                                                                                                                                                                            Mike Hurvitz; Hawk, Jon; Schwartz, Julie (Perkins Coie)
Cc:                                                                                                                                                                                                                                                                            de Leeuw, Michael; Mark Raymond; Francisco Armada; John Veysey;
                                                                                                                                                                                                                                                                               Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas; Roberts, Emma (Perkins Coie);
                                                                                                                                                                                                                                                                               Lewitz, Matthew E.
Subject:                                                                                                                                                                                                                                                                       RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC
                                                                                                                                                                                                                                                                               (N.D. Cal.)

Categories:                                                                                                                                                                                                                                                                    Red Category


Thanks so much Mike. We appreciate the professional courtesy.

Kind regards,
Michael

                                                                                                                                                                                                                                                                      Michael A. Fernández
                                                                                                                                                                                                                                                                      Member | Cozen O'Connor
                 J/#) COZEN                                                                                                                                                                                                                                           3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
                 \..~ OtONNOR                                                                                                                                                                                                                                         P: 212-453-3713 F: 646-461-2075
                                                                                                                                                                                                                                                                      Email -
                                                                                                                                                                                                                                                                      -     | Map |-
                                                                                                                                                                                                                                                                                   cozen.com
                                                                                                                                                                                                                                                                                        -



From: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
Sent: Monday, August 5, 2024 4:03 PM
To: Fernandez, Michael <MFernandez@cozen.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>
Cc: de Leeuw, Michael <MdeLeeuw@cozen.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco
Armada <francisco.armada@nelsonmullins.com>; John Veysey <john.veysey@nelsonmullins.com>;
Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma
(Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

**EXTERNAL SENDER**

Michael

We agree on the extension.

From: Fernandez, Michael <MFernandez@cozen.com>
Sent: Monday, August 5, 2024 12:10 PM
To: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>
Cc: de Leeuw, Michael <MdeLeeuw@cozen.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco
Armada <francisco.armada@nelsonmullins.com>; John Veysey <john.veysey@nelsonmullins.com>;
Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma
(Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)
Mike, I can con firm that the fir m’s clients are the in dividual ow ners o f the bel ow cited a ccounts . I am not authoriz ed to make any furth er discl osure a bout their id entifie s, which woul d in effe ct grant the relief you’re seeking and obviate the




                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                       Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 8 of 87
Mike,

I can confirm that the firm’s clients are the individual owners of the below cited accounts. I am not authorized to make any further
disclosure about their identifies, which would in effect grant the relief you’re seeking and obviate the point of appearing to oppose
your application. In that respect, we would note that the practice in the Northern District of California has been for social media
users to appear without disclosing their identity. E.g., In re Khrapunov, No. 4:17-MC-80107-KAW, 2017 WL 5625931, at *4 (N.D. Cal.
Nov. 22, 2017) (“Other courts in this district have allowed Does to challenge similar subpoenas to internet service providers.”)(citing
Chevron Corp. v. Donziger, No. 12-MC-80237 CRB (NC), 2013 WL 4536808, at *12 (N.D. Cal. Aug. 22, 2013) (Cousins, M.J.)); hey, Inc.
v. Twitter, Inc., No. 22-MC-80034-DMR, 2023 WL 3874022, at *1 (N.D. Cal. June 6, 2023) (“Does 1 and 2, the anonymous users of the
accounts @cogitopp and @mlnk901, join Twitter's motion to quash.”)

Please advise whether you will consent to our reasonable request for a modest extension or whether we should move by motion.

Thanks,
Michael


                                                                                                                                                                                                                                                          Michael A. Fernández
                                                                                                                                                                                                                                                          Member | Cozen O'Connor
                 J/#) COZEN                                                                                                                                                                                                                               3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
                ~ - OtcONNOR                                                                                                                                                                                                                              P: 212-453-3713 F: 646-461-2075
                                                                                                                                                                                                                                                          Email -
                                                                                                                                                                                                                                                          -     | Map |-
                                                                                                                                                                                                                                                                       cozen.com
                                                                                                                                                                                                                                                                            -



From: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
Sent: Monday, August 5, 2024 12:50 PM
To: Fernandez, Michael <MFernandez@cozen.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>
Cc: de Leeuw, Michael <MdeLeeuw@cozen.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco
Armada <francisco.armada@nelsonmullins.com>; John Veysey <john.veysey@nelsonmullins.com>;
Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma
(Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

**EXTERNAL SENDER**

Michael,

Thank you for email. However, you have not disclosed the identities of your clients. Lawyers represent individuals and they
represent recognized entities such as corporations, LLC’s and the like. In order to have inform conversation with our clients we need
to understand on whose behalf you’re making these requests please advise.



From: Fernandez, Michael <MFernandez@cozen.com>
Sent: Monday, August 5, 2024 8:49 AM
To: Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie) <JSchwartz@perkinscoie.com>; Mike Hurvitz
<mike.hurvitz@nelsonmullins.com>
Cc: de Leeuw, Michael <MdeLeeuw@cozen.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco
Armada <francisco.armada@nelsonmullins.com>; John Veysey <john.veysey@nelsonmullins.com>;
Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma
(Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)
Importance: High
Good mor ning, I hope yo u’re well. I wanted to circle ba ck on o ur previo us email regardi ng a reque st for an exten sion. Furt her to the bel ow, I’m a uthorize d to state that our firm repre sents the foll owing accounts: X Acco unt Hol ders,




                                                                                                                                                                                                                                                                                                 2
                 Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 9 of 87
Good morning,

I hope you’re well. I wanted to circle back on our previous email regarding a request for an extension.

Further to the below, I’m authorized to state that our firm represents the following accounts:

X Account Holders,
@FreddyOliviery;
@PonchoGutz;

Meta Account Holders,
 “Luis Guillermo Hernández”;
“Hans Salazar”

Google LLC Account Holder,
“SinCensuraTVMedia”

Following my initial email, we determined that the earliest communication received by one of the handles we represent
was sent on July 8, 2024 on the part of X. We would ask your consent to enter into the attached proposed stipulation of
time that memorializes an extension to file a motion to quash/for protective order up through August 20, 2024—which
would align any briefing with Meta and Google—and defers the provision of information/documents by X Corp., Google,
and Meta to Banco Azteca while the motion is sub judice.

Adding in my colleague Matthew Lewitz from our Santa Monica office.

Could you please let us know your position today by 1:30pm PT?

We thank you for your courtesy.

Best regards,
Michael

                          Michael A. Fernández
                          Member | Cozen O'Connor
 Jfll) COZEN              3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
 \..., O'CONNOR           P: 212-453-3713 F: 646-461-2075
                          Email-
                          -     | Map
                                    - | cozen.com
                                         --



From: Hawk, Jon <jhawk@mwe.com>
Sent: Tuesday, July 30, 2024 12:50 PM
To: Schwartz, Julie (Perkins Coie) <JSchwartz@perkinscoie.com>; Mike Hurvitz <mike.hurvitz@nelsonmullins.com>;
Fernandez, Michael <MFernandez@cozen.com>
Cc: de Leeuw, Michael <MdeLeeuw@cozen.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco
Armada <francisco.armada@nelsonmullins.com>; John Veysey <john.veysey@nelsonmullins.com>;
Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma
(Perkins Coie) <EmmaRoberts@perkinscoie.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

**EXTERNAL SENDER**

Michael,

                                                                 3
                                                                                                                                                                                              Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 10 of 87


X Corp. would not oppose your contemplated motion as described below.

Jon

JON HAWK
Partner
McDermott Will & Emery LLP 2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206
Tel +1 310 788 4181 | Mobile +1 626 755 1400 | Email jhawk@mwe.com
Website | vCard | Twitter | LinkedIn




From: Schwartz, Julie (Perkins Coie) <JSchwartz@perkinscoie.com>
Sent: Monday, July 29, 2024 9:11 AM
To: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Fernandez, Michael <MFernandez@cozen.com>; Hawk, Jon
<jhawk@mwe.com>
Cc: de Leeuw, Michael <MdeLeeuw@cozen.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco
Armada <francisco.armada@nelsonmullins.com>; John Veysey <john.veysey@nelsonmullins.com>;
Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma
(Perkins Coie) <EmmaRoberts@perkinscoie.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

[ External Email ]
Thanks for your email. I’m adding Google’s counsel and my colleague Emma. We’ll get back to you shortly on this.

Julie Schwartz | Perkins Coie LLP
PARTNER
1201 Third Avenue Suite 4900
Seattle, WA 98101-3099
D. +1.206.359.3840
F. +1.206.359.4840
E. JSchwartz@perkinscoie.com


From: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
Sent: Monday, July 29, 2024 8:14 AM
To: Fernandez, Michael <MFernandez@cozen.com>; jhawk@mwe.com; Schwartz, Julie (SEA)
<JSchwartz@perkinscoie.com>
Cc: de Leeuw, Michael <MdeLeeuw@cozen.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco
Armada <francisco.armada@nelsonmullins.com>; John Veysey <john.veysey@nelsonmullins.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

Michael,

Nice to meet you and welcome to the case. Which “affected account holders” do you represent and on which
platform(s)?

From: Fernandez, Michael <MFernandez@cozen.com>
Sent: Sunday, July 28, 2024 6:48 PM
To: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; jhawk@mwe.com; JSchwartz@perkinscoie.com
Cc: de Leeuw, Michael <MdeLeeuw@cozen.com>
Subject: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)
Importance: High
Dear Colleague s, We hope this email fi nds yo u well. Our firm is i n the pro cess of being engage d by certain of the a ffe cted s ocial media acco unt h olders. As conte mplate d in Magistrate Judge Cousi ns’s or der (attached ), we plan to file pap ers




                                                                                                                                                                                                                                                                   4
                     Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 11 of 87
Dear Colleagues,

We hope this email ﬁnds you well.

Our ﬁrm is in the process of being engaged by certain of the aﬀected social media account holders. As contemplated in
Magistrate Judge Cousins’s order (a ached), we plan to ﬁle papers objec ng to the subpoena and/or moving for a
protec ve order.

We are s ll working with the aﬀected account holders to understand when they received no ce of the subpoena. Based
on a review of the docket, however we understand that the subpoenas were served on July 2, 2024. As such, we
understand that there may be a deadline to move of Tuesday, July 30, 2024. Given the ming, we would request your
consent or non-opposi on to a forthcoming mo on to: 1) adjourn the deadline to ﬁle our papers un l August 20, 2024
and 2) defer the provision of informa on/documents by X Corp., Google, and Meta to Banco Azteca while the objec on
is sub judice. Can you please let us know your posi on by 12 pm PT tomorrow?

Thank you in advance for your a en on to this ma er.

Kind regards,
Michael

                                  Michael A. Fernández
                                  Member | Cozen O'Connor
 J/#) COZEN                       3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
 ~ - OtcONNOR                     P: 212-453-3713 F: 646-461-2075
                                  Email -
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sender immediately by return e-mail and promptly delete this e-mail, including attachments without
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                Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 12 of 87
*******************************************************************************************************************
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the intended recipient, or you believe that you have received this communication in error, please notify the
sender immediately by return e-mail and promptly delete this e-mail, including attachments without
reading or saving them in any manner. The unauthorized use, dissemination, distribution, or reproduction
of this e-mail, including attachments, is prohibited and may be unlawful. Receipt by anyone other than the
intended recipient(s) is not a waiver of any attorney/client or other privilege.




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Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 13 of 87




   EXHIBIT B
                 Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 14 of 87


Fernandez, Michael

From:                                Fernandez, Michael
Sent:                                Monday, August 19, 2024 10:53 PM
To:                                  John Veysey
Cc:                                  Mike Hurvitz; Hawk, Jon; Schwartz, Julie (Perkins Coie); Mark Raymond; Francisco
                                     Armada; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas; Roberts, Emma (Perkins
                                     Coie); Lewitz, Matthew E.
Subject:                             RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC
                                     (N.D. Cal.)
Attachments:                         Stipulation for Extension of Time (Cozen Edits).doc

Follow Up Flag:                      Follow up
Flag Status:                         Flagged

Categories:                          Red Category


John,

Thanks again for your time and courtesy this afternoon. As discussed, I’m attaching a proposed stipulation that omits the
language Banco Azteca finds objectionable concerning Ricardo Salinas Pliego while otherwise preserving the balance of
the language articulating the Affected Account Holders’ position in the stipulation— i.e., that they object to the use of 28
USC 1782 proceedings against them generally. As further discussed, I will be moving the language that Banco Azteca
finds objectional to my declaration. Please let me know if the revised stipulation is acceptable to you and I will affix Mike
Hurvitz’s signature to the proposed stipulation and get it filed tomorrow.

With respect to the issue of the criminal complaint, I’m afraid that I’m more confused now than I was before our
conversation. Specifically, and please correct me if I’m mistaken in my recollection of our conversation, you mentioned
that there was 1) a concern over some privilege issues and 2) something about how the investigation is being carried out
in Mexico. Can you please provide more context as to 1) what the privilege concern is and 2) what about how the
investigation is being carried out in Mexico justifies withholding the complaint in this proceeding?

Frankly, I’m concerned that the criminal case was initiated in Jalisco, which is not exactly known for having a strong and
independent judiciary (e.g., https://mexiconewsdaily.com/news/red-flag-for-judicial-corruption/;
https://arbitrationblog.kluwerarbitration.com/2021/10/30/denial-of-justice-by-mexican-courts-to-canadian-investment-
fund-under-nafta-the-first-of-its-kind/). Why that jurisdiction? In that respect, Banco Azteca’s shift to a purported civil
proceeding is troubling and sounds like a pretextual means to avoid divulging the criminal complaint and ultimately
using information obtained in the U.S. to pursue proceedings in such a dangerous jurisdiction. Alternatively, there’s
always the possibility that Banco Azteca has filed a frivolous criminal proceeding in Mexico and is withholding the
complaint and related documents due to concerns over a malicious prosecution type counterclaim by the account
holders. Given Banco Azteca’s lack of transparency, it's hard to know what’s truly going on. Under the circumstances, I
think disclosure of what Banco Azteca is pursuing in Jalisco is warranted.

On behalf of my clients, I reserve all rights.

Thanks,
Michael

                            Michael A. Fernández
 J/#) COZEN                 Member | Cozen O'Connor
 ~ ' OtONNOR                3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007

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                            Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 15 of 87

                                              P: 212-453-3713 F: 646-461-2075

                                          1---Email | Map | cozen.com




From: John Veysey <john.veysey@nelsonmullins.com>
Sent: Monday, August 19, 2024 3:54 PM
To: Fernandez, Michael <MFernandez@cozen.com>
Cc: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco Armada
<francisco.armada@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas
<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,
Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

**EXTERNAL SENDER**

Michael,

Addressing your first and third points together, on the standing issue, we acknowledge receipt of your client’s position
and like my earlier email, reserve all rights and otherwise do not waive any related position or argument. That said, as a
compromise and to get this done and to resolve your concern that this will perplex the Court, let’s revert to your original
language on the first of the two paragraphs on p. 3 that we’ve been discussing.

Regarding the second paragraph and your other arguments, if we do revert to your other language, can we leave the
second paragraph out? Again, we’re not trying to be sanctimonious or pedantic here, but the content of this stipulation,
the chances the court will allow it, and where the action proceeds from here, will not change one way or the other
because you were able to add this specific substantive argument. For reasons I hope you understand, it doesn’t seem
necessary to include this point, and we’re not really interested in signing a stipulation that includes a personal knock
against our clients and their motives. Your citation to the language about X’s prior motion is demonstrative – that just
makes a cross-reference to a motion already filed – it doesn’t include specifics like the proposed language here. If
anything, and mirroring your position about distracting the Court, leaving that language out probably improves our
chances the Court will allow the stipulation so they don’t have to think twice about whether they’re endorsing any
substantive position in the stipulation.

Again, if a phone call is easier, I’m at 415-205-5181. I can separately address your questions about the pending criminal
investigation also, where it will probably be easier to discuss.

Thanks,

john




P. JOHN VEY SEY OF COUNS EL
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         N EL SONM UL LI NS.CO M                                                                                                                                                                                                                                           VCA RD VI EW BI O




From: Fernandez, Michael <MFernandez@cozen.com>
Sent: Monday, August 19, 2024 12:38 PM
To: John Veysey <john.veysey@nelsonmullins.com>
Cc: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco Armada
<francisco.armada@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas
<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,
Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)
John, Tha nks for yo ur resp onse . Unles s Ba nco Azte ca plans to dro p my clie nts fr om its 17 82 appli cation, they will have standing to challenge Banco Azteca ’s appli cation an d/or subpoe na(s ). E. g. , Chevro n Cor p. v. Donziger, No. 1 2-M C-8 0237 CRB




John,

Thanks for your response.

Unless Banco Azteca plans to drop my clients from its 1782 application, they will have standing to challenge Banco
Azteca’s application and/or subpoena(s). E.g., Chevron Corp. v. Donziger, No. 12-MC-80237 CRB (NC), 2013 WL 4536808,
at *4-5 (N.D. Cal. Aug. 22, 2013) (Cousins, M.J.).

Given that my clients will have standing to object to the forthcoming 1782 Application/subpoena, I respond to each of
your comments regarding the proposed language to the stipulation in turn.

With respect to the second paragraph on page 3 (“Affected Account Holders have not been consulted about or
otherwise reviewed Banco Azteca’s Contemplated Amended Application and, to the extent they are included therein,
object to the use of 28 U.S.C. § 1782 to vexatiously harass social media commentators who have a different political
viewpoint than Ricardo Salinas Pliego, the chair of Applicant Banco Azteca’s parent company”), I would note the
following language in last week’s subpoena:

                                                                                                WHEREAS, X Corp. has not reviewed Banco Azteca’s Contemplated Amended Application, and takes no
                                                                                                position on whether Banco Azteca’s contemplated amendments may narrow or resolve any of the
                                                                                                Parties’ objections to the Initial Subpoenas, or any of the issues raised in X Corp.’s pending Motion to
                                                                                                Quash;

                                                                                                WHEREAS, X Corp. nonetheless does not oppose Banco Azteca’s request to file its Contemplated
                                                                                                Amended Application, and reserves all rights with respect thereto

As you will see, X asserts its lack of review and its position on your application. We are proposing to do the same here.
Given that you acquiesced to letting X state its position, I don’t see what the problem is with my clients’ position being
stated in this stipulation. The proposed language is not in inconsistent with what was in the stipulation last week.

With respect to the first paragraph on page 3 (“the Affected Account Holders were not consulted concerning the
aforementioned joint stipulation between Banco Azteca and X (ECF No. 35) and were otherwise not included in the
revised briefing schedule proposed to the Court therein”), the lack of explanation as to why the Affected Account
Holders weren’t included in the stipulation is going to leave the judge scratching his head. And I do not want it to seem
as if my clients were obdurate or otherwise responsible for not being included when Banco Azteca never reached out in
the first instance.


                                                                                                                                                                                                                                                                                               3
                Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 17 of 87
If you are not amenable to including the proposed language or some acceptable variation thereof, please let me know so
I can seek relief by way of motion with the Court. This is a case about speech and the last thing I want is to have my
clients’ voices be silenced.

Finally, we have been asking for information during the past week about the basis for Banco Azteca’s criminal
proceeding in Mexico. We have received no follow up to our inquiries. As I noted previously, I have been told that it’s
fairly common for parties to share information about criminal proceedings, including with the media in Mexico. I’d
therefore like to further understand the basis for the assertion that Banco Azteca can’t share that information in this
proceeding.

Thanks,
Michael
                         Michael A. Fernández
                         Member | Cozen O'Connor
 JI COZE 1               3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
~ ) otONNOR P: 212-453-3713 F: 646-461-2075
                         Email -
                         -     | Map |-
                                      cozen.com
                                           -




From: John Veysey <john.veysey@nelsonmullins.com>
Sent: Monday, August 19, 2024 11:05 AM
To: Fernandez, Michael <MFernandez@cozen.com>
Cc: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco Armada
<francisco.armada@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas
<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,
Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

**EXTERNAL SENDER**

Michael,

Our rationale in making the edits on page 3 is only to find the path of least resistance. These edits ensure the stipulation
is consistent with the one the Court allowed last week. We expect the Court is more likely to allow this stipulation if the
only other differences are adding an additional party and referencing prior entries on the docket. Without going into
substance, the two paragraphs on page 3 are otherwise extraneous to the purpose of the stipulation, particularly where
the next paragraph that we are fine retaining covers the same ground.

While we continue to reserve all rights regarding whether the parties of the subject matter of a subpoena are
themselves entitled to input regarding an amended application, if it helps us finalize this, we propose the attached
edited version of that first paragraph. The attachment includes that edit.

Regarding your second paragraph, none of the parties have reviewed the amended application. That probably obviates
that paragraph’s purpose. Your other language in that paragraph asserts substantive and ad hominem positions and
don’t belong in this stipulation. Again, as the subsequent paragraph explains, all parties will have other opportunities to
clarify and articulate their positions at later points.

We remain available and happy to jump on the phone to discuss this, and please let us know if you have any other
questions.

john

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                                                                                                                                                                                      Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 18 of 87




         P. JOHN VEY SEY OF COUNS EL
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         N EL SONM UL LI NS.CO M                                                                                                                                                                                                                                     VCA RD VI EW BI O




From: Fernandez, Michael <MFernandez@cozen.com>
Sent: Sunday, August 18, 2024 5:10 PM
To: John Veysey <john.veysey@nelsonmullins.com>
Cc: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco Armada
<francisco.armada@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas
<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,
Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)
John, Tha nks for re spo nding with yo ur co mments over a weekend. It’s very much appre ciated. W e’re okay with Banco Azte ca’s pro po sed omissi on o f the lang uage on page 2 concerning the sti pulation s with Google a nd Meta. That was already inclu ded




John,

Thanks for responding with your comments over a weekend. It’s very much appreciated.

We’re okay with Banco Azteca’s proposed omission of the language on page 2 concerning the stipulations with Google
and Meta. That was already included in the prior stipulation between Banco Azteca and the Affected Account Holders,
ECF No. 30. And, while we think it would be helpful to remind the court of the development, we also don’t think it’s
problematic for it to come out.

With respect to Banco Azteca’s proposed omissions on page 3, can you please advise on your rationale?

With respect to the first paragraph that Banco Azteca is asking to come out of the stipulation, the fact remains that
Banco Azteca did not consult with the Affected Account Holders in proposing an entirely new briefing schedule (which,
frankly, is a really inconvenient schedule for their counsel due to travel) and did not include the Affected Account
Holders in the revised briefing schedule. So, I guess I’m curious as to what the issue is with including in the stipulation?

With respect to the second paragraph the Banco Azteca is seeking to omit, we’re very concerned that Banco Azteca is
asking the Affected Account Holders to omit their position vis-à-vis the proceeding (because they object) but that no
such omission was made of X (which was allowed to express its view on the proceeding). This is the first time I’ve ever
been in a case where a counterparty has asked me to strike the position of its adversaries from a stipulation, so I’m
somewhat troubled by your request. We’re happy to make it clearer that Banco Azteca is not acquiescing to the
objection, etc. That said, we’d like to understand what the rationale is for asking the Affected Account Holders to
remove their litigation position from this stipulation (as opposed to, say, just adding Banco Azteca’s view on the
proceeding’s propriety, etc.).


                                                                                                                                                                                                                                                                                         5
                             Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 19 of 87
Thanks,
Michael
                                           Michael A. Fernández
                                           Member | Cozen O'Connor
"' COZE                  I                 3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
\_) O'CONNOR P: 212-453-3713 F: 646-461-2075
                                           Email -
                                           -     | Map |-
                                                        cozen.com
                                                             -




From: John Veysey <john.veysey@nelsonmullins.com>
Sent: Sunday, August 18, 2024 4:11 PM
To: Fernandez, Michael <MFernandez@cozen.com>
Cc: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco Armada
<francisco.armada@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas
<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,
Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

**EXTERNAL SENDER**

Michael,

Attached are a few redlines to the stipulation. Please let us know if you have any questions.

Many thanks,

john




P. JOHN VEY SEY OF COUNS EL
j o h n . v e y s e y@ ne l s o n m u l l i n s . c om

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From: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
Sent: Sunday, August 18, 2024 2:48 PM
To: Fernandez, Michael <MFernandez@cozen.com>
Cc: Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie) <JSchwartz@perkinscoie.com>; Mark Raymond
<Mark.Raymond@nelsonmullins.com>; Francisco Armada <Francisco.Armada@nelsonmullins.com>; John Veysey
<john.veysey@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas
<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,

                                                                                    6
                                                                                                       Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 20 of 87
Matthew E. <MLewitz@cozen.com>
Subject: Re: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

I’ll be back at a computer by about 3pm pacific and will send you a redline version if John doesn’t send before then.


         On Aug 18, 2024, at 11:37 AM, Fernandez, Michael <MFernandez@cozen.com> wrote:

         Mike, Thanks for your respons e, which I very much ap preciate. I have n’t yet received a resp ons e fro m Joh n and w ould appreciate it today, if at all p ossible, so we ca n evaluate your pr opo sed change s to the dra ft stipulation. Thanks, Mi chael Mi chael




         Mike,

         Thanks for your response, which I very much appreciate.

         I haven’t yet received a response from John and would appreciate it today, if at all possible, so we can
         evaluate your proposed changes to the draft stipulation.

         Thanks,
         Michael

                                                                                                                                                                                                                                                                                                        Michael A. Fernández
                                                                                                                                                                                                                                                                                                        Member | Cozen O'Connor
                   l ) COZE 1.                                                                                                                                                                                                                                                                          3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
                   ~ , otONNOR P: 212-453-3713 F: 646-461-2075
                                                                                                                                                                                                                                                                                                      Email -
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                                                                                                                                                                                                                                                                                                                   cozen.com
                                                                                                                                                                                                                                                                                                                       -



         From: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
         Sent: Sunday, August 18, 2024 2:20 PM
         To: Fernandez, Michael <MFernandez@cozen.com>
         Cc: Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie) <JSchwartz@perkinscoie.com>; Mark
         Raymond <Mark.Raymond@nelsonmullins.com>; Francisco Armada
         <Francisco.Armada@nelsonmullins.com>; John Veysey <john.veysey@nelsonmullins.com>;
         Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas <Nicholas.Kennedy@bakermckenzie.com>;
         Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E.
         <MLewitz@cozen.com>
         Subject: Re: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

         **EXTERNAL SENDER**

         Michael

         I’m away from computer right now. We were ok with moving the deadlines but had issues with some of the
         dicta.

         I think John Veysey was going to redline the stip. not sure if he had done that yet.




                                                                                                       On Aug 18, 2024, at 10:56 AM, Fernandez, Michael <MFernandez@cozen.com> wrote:

                                                                                                       Mike, I’m sorry to bother over the weeke nd. I ju st wanted to brie fly follow up with you to co nfir m that you were agreeable to t he stipulatio n I circulated o n Friday as I’d like to be able to get it on file to morrow. Give n the immine nt deadlin e,




                                                                                                       Mike,

                                                                                                       I’m sorry to bother over the weekend. I just wanted to briefly follow up with you to
                                                                                                                                                                                                                                                                                                                                                                          7
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confirm that you were agreeable to the stipulation I circulated on Friday as I’d like to be
able to get it on file tomorrow. Given the imminent deadline, I’d ask that you please let
me know today your position so as to head of a last-minute scramble on our part.

Thanks,
Michael

                         Michael A. Fernández
                         Member | Cozen O'Connor
 Ill COZE 1              3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
~ J otONNOR P: 212-453-3713 F: 646-461-2075
                         Email -
                         -     | Map |-
                                      cozen.com
                                           -



From: Fernandez, Michael
Sent: Friday, August 16, 2024 10:19 AM
To: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
Cc: Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>;
Francisco Armada <francisco.armada@nelsonmullins.com>; John Veysey
<john.veysey@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy,
Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie)
<EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091
NC (N.D. Cal.)

Mike,

Further to my previous email, I’m attaching a draft stipulation which largely tracks the
stipulation that Banco Azteca entered into with X for your review and/or comment.
Please let me know if you have any comments or if you otherwise are okay with the
draft stipulation, ideally later today or over the weekend so that we can get this filed on
Monday.

I also wanted to follow up on my question as to why you don’t think you’re able to share
the criminal complaint, etc.

Byron, Jon, and Julie,

Can you please let us know if you are okay with the outlines of the proposed
stipulation?

Best regards,
Michael

                           Michael A. Fernández
                           Member | Cozen O'Connor
 l/l) COZEN               3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
 ~ ~ OtONNOR              P: 212-453-3713 F: 646-461-2075
                          Email -
                          -     | Map |-
                                       cozen.com
                                            -




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From: Fernandez, Michael
Sent: Wednesday, August 14, 2024 6:16 PM
To: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
Cc: Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>;
Francisco Armada <francisco.armada@nelsonmullins.com>; John Veysey
<john.veysey@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy,
Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie)
<EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091
NC (N.D. Cal.)

Mike,

Thanks for your courtesy.

Would you be amenable to sending me a draft stipulation? If not, I’ll otherwise prepare
and circulate.

With respect to the purported criminal matter in Mexico, I understand that under
Mexican law the complaining party has no legal restrictions in making public a criminal
complaint. Given that, I’m not sure why you wouldn’t be able to provide even just that
document. Can you advise as to why you think you’re not able to share it?

Thanks,
Michael

                            Michael A. Fernández
                            Member | Cozen O'Connor
 l/l) COZEN                 3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
 ~ ' OtONNOR                P: 212-453-3713 F: 646-461-2075
                            Email -
                            -     | Map |-
                                         cozen.com
                                              -



From: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
Sent: Wednesday, August 14, 2024 12:15 PM
To: Fernandez, Michael <MFernandez@cozen.com>
Cc: Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>;
Francisco Armada <francisco.armada@nelsonmullins.com>; John Veysey
<john.veysey@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy,
Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie)
<EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091
NC (N.D. Cal.)

**EXTERNAL SENDER**

Michael

We are happy to enter into a stipulation with the account holders you represent and
give them a similar extension.

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We are not able to provide you with the criminal complaint and/or subsequent filings.

Mike

From: Fernandez, Michael <MFernandez@cozen.com>
Sent: Wednesday, August 14, 2024 7:46 AM
To: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
Cc: Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <Mark.Raymond@nelsonmullins.com>;
Francisco Armada <Francisco.Armada@nelsonmullins.com>; John Veysey
<john.veysey@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy,
Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie)
<EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091
NC (N.D. Cal.)
Mike, Thanks for your respons e. Your sti pulation obviously went beyond X and pro pose d a briefi ng sched ule as to Go ogle and M eta, too. Given that, I’ m at a loss as to w hy my clie nts were o mitted fro m the pr op osed s ch edule. I n any event, ca n you




Mike,

Thanks for your response.

Your stipulation obviously went beyond X and proposed a briefing schedule as to Google
and Meta, too. Given that, I’m at a loss as to why my clients were omitted from the
proposed schedule. In any event, can you please let me today know whether you intend
to enter into a stipulation with the account holders I represent giving them a similar
extension to X, Meta and Google?

With respect to the alleged criminal complaint as well as the subsequent filings, I’d be
happy to chat over the coming days. That said, I’m not sure why there is a need to have
a conversation. I understand your client has the right to share the documents, so I’d just
like to know whether they will be provided forthwith, provided in the amended
application or not provided at all.

Thanks,
Michael

                                                                                                                                                                                                                                                                         Michael A. Fernández
                                                                                                                                                                                                                                                                         Member | Cozen O'Connor
                i//l) COZEN                                                                                                                                                                                                                                              3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
                \.., OtONNOR                                                                                                                                                                                                                                             P: 212-453-3713 F: 646-461-2075
                                                                                                                                                                                                                                                                         Email -
                                                                                                                                                                                                                                                                         -     | Map |-
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                                                                                                                                                                                                                                                                                           -




From: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>
Sent: Wednesday, August 14, 2024 12:17 AM
To: Fernandez, Michael <MFernandez@cozen.com>
Cc: Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <Mark.Raymond@nelsonmullins.com>;
Francisco Armada <Francisco.Armada@nelsonmullins.com>; John Veysey
<john.veysey@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy,
Nicholas <Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie)
<EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E. <MLewitz@cozen.com>

                                                                                                                                                                                                                                                                                             10
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Subject: Re: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091
NC (N.D. Cal.)

**EXTERNAL SENDER**

Michael

I was tied up in a mediation all day today. Happy to schedule a call to discuss the issues you raise
in you raised in your emails.

The stipulation filed today dealt with the briefing schedule for the MTQ filed by X. We were
dealing with a deadline for Banco to file an opposition to the MTQ and Banco and X wanted to
revise the schedule.

Let us know what days and times work best for you this week.

Mike

Mike


          On Aug 13, 2024, at 8:28 PM, Fernandez, Michael <MFernandez@cozen.com>
          wrote:

          Mike, I wanted to briefly follow u p on my email below an d inquire w hether you will be sharing the allege d crimi nal complai nt as well as the su bseq uent filings. I also reviewe d the stipulation that was file d a short while ago a nd noticed that




          Mike,

          I wanted to briefly follow up on my email below and inquire whether
          you will be sharing the alleged criminal complaint as well as the
          subsequent filings.

          I also reviewed the stipulation that was filed a short while ago and
          noticed that my clients were not included in the proposed briefing
          schedule. Can you please explain why?

          I reserve all rights on behalf of my clients.

          Thanks,
          Michael

                                                                                                                                                                                                                                                                         Michael A. Fernández
                                                                                                                                                                                                                                                                         Member | Cozen O'Connor
                          ~ ) COZEN                                                                                                                                                                                                                                      3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
                          ~ ' OtONNOR                                                                                                                                                                                                                                    P: 212-453-3713 F: 646-461-2075
                                                                                                                                                                                                                                                                         Email -
                                                                                                                                                                                                                                                                         -     | Map |-
                                                                                                                                                                                                                                                                                      cozen.com
                                                                                                                                                                                                                                                                                           -




          From: Fernandez, Michael
          Sent: Tuesday, August 13, 2024 1:03 AM
          To: 'Mike Hurvitz' <mike.hurvitz@nelsonmullins.com>; 'Hawk, Jon'
          <jhawk@mwe.com>; 'Schwartz, Julie (Perkins Coie)'
          <JSchwartz@perkinscoie.com>
          Cc: 'Mark Raymond' <mark.raymond@nelsonmullins.com>; 'Francisco
          Armada' <francisco.armada@nelsonmullins.com>; 'John Veysey'
          <john.veysey@nelsonmullins.com>; 'Byron.Tuyay@bakermckenzie.com'
                                                                                                                                                                                                                                                                                   11
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       <Byron.Tuyay@bakermckenzie.com>; 'Kennedy, Nicholas'
       <Nicholas.Kennedy@bakermckenzie.com>; 'Roberts, Emma (Perkins
       Coie)' <EmmaRoberts@perkinscoie.com>; Lewitz, Matthew E.
       <MLewitz@cozen.com>
       Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case
       No. 24-mc-80091 NC (N.D. Cal.)

       Mike,

       I hope this email finds you well.

       Extensive reference is made in Banco Azteca’s 1782 Application to “a
       criminal complaint, which was registered under investigation folder
       number 5101/202254 of Agency 4 of Bulk Processing of the Public
       Prosecutor’s Office of the State of Jalisco” filed on January 19, 2024 (ECF
       1 at 8) as well as subsequent filings and orders issued in that proceeding
       (ECF 1 at 8-10). Despite this, the Application does not attach a copy of
       the alleged criminal complaint in the Mexican proceeding nor other
       filings from it.

       We are in the process of preparing our motion papers. Given that the
       purported criminal proceeding underpins your Application, please
       advise whether you will provide the parties with the alleged criminal
       complaint as well as the subsequent filings.

       Michael

                                  Michael A. Fernández
                                  Member | Cozen O'Connor
        l/l) COZEN                3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
        ~ ~ OtONNOR               P: 212-453-3713 F: 646-461-2075
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              have received this communication in error, please notify the sender
              immediately by return e-mail and promptly delete this e-mail, including
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       or recipient of this communication is not the intended recipient, an employee or agent of the
       intended recipient who is responsible for delivering it to the intended recipient, or you
       believe that you have received this communication in error, please notify the sender
       immediately by return e-mail and promptly delete this e-mail, including attachments without
       reading or saving them in any manner. The unauthorized use, dissemination, distribution, or
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       Receipt by anyone other than the intended recipient(s) is not a waiver of any attorney/client
       or other privilege.



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sender immediately by return e-mail and promptly delete this e-mail, including attachments without
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of this e-mail, including attachments, is prohibited and may be unlawful. Receipt by anyone other than the
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   EXHIBIT C
                Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 29 of 87


Fernandez, Michael

From:                              Fernandez, Michael
Sent:                              Tuesday, September 3, 2024 4:20 PM
To:                                John Veysey
Cc:                                Mike Hurvitz; Hawk, Jon; Schwartz, Julie (Perkins Coie); Mark Raymond; Francisco
                                   Armada; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas; Roberts, Emma (Perkins
                                   Coie); Lewitz, Matthew E.
Subject:                           RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC
                                   (N.D. Cal.)

Categories:                        Red Category


Hi John,

I hope everyone is well and had a good Labor Day weekend. I wanted to follow up again on my below query. Please
advise.

Thanks,
Michael

                          Michael A. Fernández
                          Member | Cozen O'Connor
 J/#) COZEN               3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
 ~ ' OtONNOR              P: 212-453-3713 F: 646-461-2075
                          Email -
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                                       cozen.com
                                            -



From: Fernandez, Michael
Sent: Monday, August 26, 2024 2:20 PM
To: John Veysey <john.veysey@nelsonmullins.com>
Cc: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco Armada
<francisco.armada@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas
<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,
Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

Hi John,

I hope you’re well. I wanted to briefly circle back on my below query.

Best regards,
Michael

                          Michael A. Fernández
                          Member | Cozen O'Connor
 J/#) C..O.ZEN            3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
 ~ ' OtONNOR              P: 212-453-3713 F: 646-461-2075
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                                       cozen.com
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From: Fernandez, Michael
Sent: Tuesday, August 20, 2024 5:26 PM
To: John Veysey <john.veysey@nelsonmullins.com>
Cc: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco Armada
<francisco.armada@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas
<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,
Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

John,

Thanks for your response.

I understood that you were in transit, which is why I wanted to make sure I clarified what your position is.

For the avoidance of doubt, we’re not looking to get into Nelson Mullin’s advice to Banco Azteca client. To the extent
that my emails may have given that suggestion, I want to clarify that was not in any way our intention.

What my clients are interested in is the underlying documents that have been filed with and/or issued by the Jalisco
court. It sounds like you do not have any copies of what was filed and/or issued. Is that correct?

Thanks, again,
Michael

                            Michael A. Fernández
                            Member | Cozen O'Connor
 i//l) COZEN              3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
 \.., OtONNOR             P: 212-453-3713 F: 646-461-2075
                          Email -
                          -     | Map |-
                                       cozen.com
                                            -



From: John Veysey <john.veysey@nelsonmullins.com>
Sent: Tuesday, August 20, 2024 12:10 PM
To: Fernandez, Michael <MFernandez@cozen.com>
Cc: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco Armada
<francisco.armada@nelsonmullins.com>; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas
<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,
Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

**EXTERNAL SENDER**

Michael,

The edited stipulation looks great. You can sign on our behalf.

Regarding the criminal complaint, apologies for any lack of clarity on my part as I was driving during our call, but my
position was and remains relatively simple. We understand the authorities in Mexico have an ongoing investigation. For
obvious reasons, my team is not involved in that investigation. We are not prepared to collect and share information
with your clients about that investigation, and we will not do so. Your clients are demanding to know the reason why we
won’t collect and share this information. What they’re demanding would violate attorney/client privilege. Our
                                                                 2
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conversation yesterday was amicable and I took care to preface that part of the discussion that our privilege position is
not to be uncooperative or cagey, we are just not willing to divulge information that would disclose underlying strategy
and rationale.

Regarding your other positions, like our other discussions this week, I don’t think this email chain is the best place to
resolve those issues, to the extent we’re even qualified to address some of what you raise below. We will continue to
reserve all rights on those and your other positions.

Again, available to touch base over the phone, so feel free to give me a call.

Thanks,

john




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   EXHIBIT D
                  Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 33 of 87


Fernandez, Michael

From:                                 Fernandez, Michael
Sent:                                 Wednesday, September 11, 2024 8:23 PM
To:                                   John Veysey
Cc:                                   Mike Hurvitz; Hawk, Jon; Schwartz, Julie (Perkins Coie); Mark Raymond; Francisco
                                      Armada; Byron.Tuyay@bakermckenzie.com; Kennedy, Nicholas; Roberts, Emma (Perkins
                                      Coie); Lewitz, Matthew E.
Subject:                              RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC
                                      (N.D. Cal.)

Categories:                           Red Category


Hi John,

Thanks for your response.

The Federal Rules require that documents submitted to the court be well grounded in fact, warranted by existing law and not be
interposed for any improper purpose, such as to harass or to cause unnecessary delay or needless increase in the cost of litigation.
Thus, there is a need “for some prefiling inquiry into both the facts and the law to satisfy the affirmative duty imposed by the rule.’”
Lloyd v. Schlag, 884 F.2d 409, 412 (9th Cir. 1989). In that respect, “[a]n attorney has not made a ‘reasonable inquiry’ concerning the
facts, if he has not made any inquiry, or if he has relied only on his client, when time permitted him to make a further investigation.
A [party] must not be joined, or claim asserted against a [party] merely in the hope that discovery will turn up something against
that [party].” Whittington v. Ohio River Co., 115 F.R.D. 201, 206 (E.D. Ky. 1987).

Nearly five months have elapsed since Banco Azteca first filed its Application. Despite the time lapse, Nelson Mullins has seemingly
not undertaken any investigation regarding the case in Mexico and apparently relied exclusively on the account of Banco Azteca’s
lawyers in Mexico. Have you, at a minimum, confirmed whether the accounts of John Does 1-5 for which Banco Azteca is seeking
information actually are referenced/named in the criminal complaint in Mexico?

On a separate note, Banco Azteca states in the Amended Application that it “has commenced a civil action against certain
individuals.” ECF No. 39-3 at 5. Can you please advise as to which individuals had been sued?

For the avoidance of doubt, we reserve our right to take up the apparent lack of pre-filing investigation with the Court.

Best,
Michael

                             Michael A. Fernández
                             Member | Cozen O'Connor
 ill) C..0. ZEN
 \.., OtcONNOR
                             3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
                             P: 212-453-3713 F: 646-461-2075
                             Email -
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                                          cozen.com
                                               -



From: John Veysey <john.veysey@nelsonmullins.com>
Sent: Monday, September 9, 2024 11:10 AM
To: Fernandez, Michael <MFernandez@cozen.com>
Cc: Mike Hurvitz <mike.hurvitz@nelsonmullins.com>; Hawk, Jon <jhawk@mwe.com>; Schwartz, Julie (Perkins Coie)
<JSchwartz@perkinscoie.com>; Mark Raymond <mark.raymond@nelsonmullins.com>; Francisco Armada
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<Nicholas.Kennedy@bakermckenzie.com>; Roberts, Emma (Perkins Coie) <EmmaRoberts@perkinscoie.com>; Lewitz,

                                                                    1
                Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 34 of 87
Matthew E. <MLewitz@cozen.com>
Subject: RE: In re 1782 Subpoena Application by BANCO AZTECA, Case No. 24-mc-80091 NC (N.D. Cal.)

**EXTERNAL SENDER**

Hi Michael,

My apologies on the late reply, but hope you also had an enjoyable weekend. Our position remains the same as before:
Banco Azteca will not share a copy of the “underlying documents filed with and/or issued by the Jalisco court” – to use
your language – particularly where a criminal investigation may be ongoing. We reiterate that Banco Azteca has no duty
to share those materials in this context under Mexico or United States law. Regarding the latter, we reiterate that if your
clients wish to challenge this, the briefing process here affords sufficient opportunity to do so. We note that attorneys
for Banco Azteca affirmed under oath in the original application as to the progress of the criminal action underway in
Mexico, including the investigation folder number (see, e.g. Ex. C, ¶ 9) (ECF 1-3). We accordingly defer to the processes
and regulations followed by the relevant law enforcement divisions in that jurisdiction and related law, including, but
not limited to, confidentiality requirements. As to Banco Azteca’s other reasons for its position, we continue to reserve
all rights, including attorney work product and attorney-client privilege protections. Banco Azteca more generally
reserves all other rights.

Many thanks,

john




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Home  News


Jalisco identified as a ‘red flag’ for judicial
corruption
n   Simon Schatzberg May 16, 2019                                 0




 Chief Justice Zaldívar: eyes on Jalisco.

                                                 
Jalisco is one of five problem states for corrupt judges according to
a map of corruption allegations against federal judges and
magistrates across the country.


Since the previous federal government, the Supreme Court has
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been focused on the issue in Jalisco, where corruption cases,
collusion between officials and organized crime and sexual and
labor harassment have been a problem for the federal judicial
branch.


Late last year then-Chief Justice Luis María Aguilar Morales
presented a map detailing judicial corruption allegations,
identifying Jalisco, Puebla, Veracruz, San Luis Potosí and Zacatecas
as “red flags.”


Current Chief Justice Arturo Zaldívar Lelo de Larrea has focused on
addressing corruption in the third circuit in Jalisco, which has been
considered a center for corruption for at least eight years, when
investigations of judicial officials were first ordered.


But in spite of the investigations, judicial corruption is still rampant
in the state.


On May 3, the chief justice told El Universal that a “renewal” was
under way in the third circuit, which includes investigations,
disciplinary actions and reassignments of federal judges and
magistrates.


“We think reassignments are important to bring in new blood,”
Zaldívar said.


The judicial branch is also collaborating with the Financial
Intelligence Unit (UIF) to detect irregularities in the income of
federal officials.
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                                      @
The UIF recently froze 50 million pesos (US $2.6 million) in bank
accounts belonging to a federal magistrate who is accused of giving
favorable rulings to members of the Jalisco New Generation Cartel
(CJNG). According to Reforma, the magistrate is Isidro Avelar
Gutiérrez.


Last April, Senator Ricardo Monreal accused Avelar of having met
with relatives of Nemesio “El Mencho” Oseguera Cervantes, leader
of the CJNG, and having ordered the release of his son, who was
accused of money laundering and organized crime.


Avelar is one of those judges who have been reassigned. He is now
working at a federal court in Chilpancingo, Guerrero.


Sources told El Universal that judges and magistrates accused of
corruption are reassigned when there is not enough evidence to
open a formal investigation against them. Once an investigation is
opened, they must be suspended.


Between 2017 and 2018, the Supreme Court ordered 36 disciplinary
proceedings against federal judges, magistrates and secretaries, of
which seven were in Jalisco.
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Source: El Universal (sp), Reforma (sp)




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                      Kluwer Arbitration Blog


      Denial of Justice by Mexican Courts to Canadian Investment
      Fund under NAFTA: the First of its Kind
      Fernando Pérez-Lozada (CMS) · Saturday, October 30th, 2021


      Lion Mexico Consolidated v. Mexico1) represents the first positive finding of denial of justice in the
      history of NAFTA2) and one of the rearrest recent examples in investor-state arbitration.

      On 20 September 2021, a NAFTA tribunal seated in Washington, D.C., held Mexico liable for
      denial of justice by the Mexican judiciary, ordering the State to pay US$ 47 million for “full
      reparation” (plus legal fees and arbitration costs) to Lion Mexico Consolidated L.P. (“LMC”), a
      Canadian entity incorporated in Quebec and domiciled in Texas, USA.



      Background

      LMC granted three loans totalling US$ 32.8 million to a Mexican businessman (the “Debtor”) to
      acquire land and develop two skyscrapers and a luxury ocean-front resort in Jalisco and Nayarit,
      respectively, secured by three mortgages over the properties in question.

      After LMC attempted to foreclose a mortgage to recover the unpaid loans, it discovered that all
      mortgages had been cancelled by a judge in Jalisco (at the Debtor’s request) without its
      participation. This “Cancellation Judgment” was based on a Settlement Agreement allegedly
      signed by LMC, in which it accepted payment of the loans (and cancellation of the mortgages) in
      exchange of shares in the Debtor’s companies (the “Forged Document“). LMC tried to revert the
      illegal cancellation of the mortgages for almost three years before the Mexican courts, and falling
      to do so, it lodged an investment arbitration against Mexico.



      Jurisdictional phase

      Back in 2018, the Tribunal was confronted with a novel issue: whether or not mortgages qualify as
      an investment under NAFTA. The Tribunal found that mortgages meet the two-fold requirement of
      Article 1139(g): being “intangible” real estate, “used for economic benefit”. The Tribunal found
      that mortgages are in rem rights (derechos reales) under Mexican law, while treaty practice
      confirms the same understanding, as Mexico had concluded other 22 BITs where “mortgages”
      were expressly recognised as an investment (e.g., the Spain-Mexico BIT).3) In line with the

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      Tribunal’s finding, the new NAFTA (known as “USMCA”) signed by the US, Mexico and Canada
      – in force as of 1 July 2020 – expressly includes “mortgages” as a covered investment under
      Article 14.1(h).



      The Parties’ positions on the merits

      LMC alleged it was not properly summoned in the proceedings that cancelled its mortgages in
      absentia (“Cancellation Proceeding”) and then, it was deprived of its right of defense to revert
      said cancellation before higher courts, which repeatedly denied any opportunity to prove the
      forgery of the Settlement Agreement upon which its investment was cancelled.

      Mexico alleged that Mexican courts acted in accordance with the law, while LMC was negligent in
      its legal defence. Mexico alleged that it was also the victim of a sophisticated fraud by the Debtor,
      while LMC had not exhausted all the available remedies, as condition precedent to denial of
      justice. In its view, LMC could obtain compensation from criminal proceedings against the Debtor.



      The Tribunal’s findings



          1. Standard of proof

      The Tribunal followed the Mondev standard as a “guide”, albeit with some precisions. In its view,
      denial of justice involves an “objective test”, which: “requires a finding of an improper and
      egregious procedural conduct by the local courts (whether intentional or not), which does not meet
      the basic internationally accepted standards of administration of justice and due process, and
      which shocks or surprises the sense of judicial propriety.“4) In other words, the Tribunal clarified
      that a breach must be procedural and not substantive; rejected the need to prove an intentional
      conduct (e.g., bad faith); while required a level of gravity to shock or surprise, contrary to basic
      yet internationally accepted standards of justice.



          2. Denial of Justice

      The Tribunal recognised three types of denial of justice claims related to: i) the right to access
      justice (e.g., lodge an appeal); ii) the right to be heard (e.g., to present evidence); and iii) undue
      court delay.

      The Tribunal found unanimously that Mexico denied “procedural justice” (and FET) to LMC, in
      breach of Article 1105 of NAFTA, for the first two types of claims (referred to above), while
      considering it needless to address the claim for undue delay.

      The Tribunal first gave deference to and presumed that the municipal courts had acted properly,
      while it did not pass judgment on the propriety of the entire Mexican judicial system. It then
      accepted Mexican courts acted in good faith (i.e., without colluding with the fraudsters or

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      colluding in corruption, as this was not raised by LMC). However, the Tribunal held that the
      existence of a “sophisticated fraud” by the Debtor to cancel the mortgages, regardless how
      sophisticated this might be, did not excuse the State from its duty to have a properly functioning
      judicial system.

      In particular, the Tribunal found that the courts of Jalisco failed to function properly during the
      first instance, appeal and amparo proceedings. First, the commercial judge cancelled the mortgages
      by default as a result of a “deeply flawed” service of process to LMC, and later foreclosed the
      possibility to appeal said judgment in disregard of municipal law. Second, the higher courts during
      amparo, queja and remand proceedings, denied LMC every opportunity to allege and submit
      relevant and material evidence to prove the forgery that resulted in the loss of its investment.

      The Tribunal concluded that LMC was denied procedural justice in three respects:

      a) LMC was denied access to justice: LMC was never given the opportunity to defend itself in
      the Cancellation Proceeding, due to a “deeply flawed” service of process that resulted in the
      cancelation of its mortgages in absentia. While this was the basis of the denial of justice claim, it
      was not the only defective act. The Judge also failed to examine ex officio and exhaustibly, whether
      the service was properly performed, before declaring respondent en rebeldía. This omission was
      “shocking” in view of the implications at stake: the cancellation of multi-million dollar mortgages
      of a US-based company over well-known and highly valuable real estate, when the Judge had
      before him evidence that LMC was US-domiciled and incorporated in Canada. Moreover, this was
      exacerbated by the unusual swiftness of the Cancellation Proceeding (which lasted only 170 days).
      As the Tribunal put it, the Mexican judiciary never corrected this situation, despite LMC’s multiple
      requests.



      b) LMC was denied the right to appeal: A few weeks later, the same Judge arbitrarily precluded
      any opportunity of appeal, by giving a res judicata effect to its Cancellation Judgement (at the
      Debtor’s request), which constituted a second denial of justice. By doing so, the Judge barred any
      possibility of LMC, once it became aware of the Cancellation Judgement, to lodge an appeal. The
      Judge based its declaration of res judicata on an inapplicable procedural rule under which low-
      amount disputes are not subject to appeal (i.e., lower than 500,000 MXP (USD 25,000). This
      decision was unjustified as the evidence before the Judge showed the mortgages (cancelled by him)
      secured US$ 32.8 million loans.



      c) LMC was denied the right to allege in amparo proceedings the “forgery” of the document
      upon which the mortgages were cancelled: LMC tried in multiple occasions and under different
      motions – for 3 years – to bring the relevant evidence that could easily prove the illegality of the
      service and justify the annulment of the Cancellation Judgement. However, the Mexican courts
      consistently refused LMC’s right to be heard and to present evidence, as follows:



      i) Ampliación de demanda: A request to extend its amparo claim to include the highly relevant
      forgery was dismissed by the amparo court under the “wrong” argument that “these acts have
      already been specified” and failed to admit the key evidence.

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      ii) Queja: An incidental motion against the decision above, also rejected LMC’s ampliación de
      demanda as inadmissible, alleging that it was not properly signed on LMC’s behalf (as it should
      have been signed by LMC’s legal representative and not by the attorney empowered to act on its
      behalf in the amparo proceedings). LMC was not even allowed to cure the alleged procedural
      defect (when it submitted a new power of attorney), despite the ampliación de demanda aimed at
      proving that LMC, an alien company operating in Mexico, had been the victim of an elaborate
      fraud.



      iii) Incidente de falsedad de documento: A separate motion to prove the forgery, was dismissed
      on the grounds that the allegedly false document was not related to the subject-matter of the
      amparo proceeding. As a result, the amparo court assumed the Settlement Agreement was valid
      and binding, thereby reducing the scope of the amparo to the question of whether the service of
      process had or not been properly executed in accordance with Mexican law. And – congruently
      with this reduced scope of investigation – all evidence in the file seeking to prove the forgery was
      eliminated.



      iv) Amparo: Notwithstanding a previous finding by the amparo court that at least on one occasion
      LMC’s signature had been forged (and that the Debtor was in prison for alleged forgeries of
      documents) the amparo judgement did not even discuss LMC’s argument that the Settlement
      Agreement was also forged, since the ampliación de demanda had been dismissed. The amparo
      judgement consequently assumed that the Settlement Agreement was validly executed by LMC.



      v) Recurso de Revisión (Remand amparo): finally, LMC sough the revocation of the amparo
      judgment for the same reason that the amparo court erroneously disregarded its claim that the
      Settlement Agreement had been forged as it considered “unrelated to the dispute”. However, LMC
      was once again barred from claiming the forgery as expressly ordered by the Queja tribunal, which
      forbade the remand court to examine the issue.



      Conclusion

      As stated by the Tribunal, Mexican courts had four opportunities to address the question of the
      forgery of the Settlement Agreement but failed to do so. This constituted a denial of justice, by
      restricting its access to justice and its right to defend itself and present evidence. The Tribunal
      found that LMC had exhausted the reasonable available remedies that could have reversed the
      cancellation of the mortgages.

      The implications of the LMC case may open new debates and may lead to the adoption of new
      approaches and decisions to contour the notion of denial of justice in the coming years.

      Notably, in December 2020, Mexico received a notice of a new NAFTA legacy dispute alleging

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      denial of justice by the State courts’ failure to recognise “mortgages” as collateral held by US
      creditors (AMERRA and JPMorgan) under insolvency proceedings. Another case initiated by US
      investors (B-Mex) in 2016, is calling a NAFTA tribunal to assess due process by Mexican amparo
      courts, as the investors claim they were “effectively and practically denied an appeal”.




      ________________________

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      References

       ?1 Lion Mexico Consolidated L.P. v. United Mexican States (ICSID Case No. ARB(AF)/15/2).
            In 1999, a NAFTA tribunal analysed and rejected for the first time a claim for denial of justice in
       ?2
            Robert Azinian v. Mexico.
       ?3 Decision on Jurisdiction, 30 July 2018, paras. 229, 233, 240.
       ?4 Award, 20 September 2021, para. 299.




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       This entry was posted on Saturday, October 30th, 2021 at 8:54 am and is filed under Denial of justice,
       Due process, Investment Arbitration, Mexico, NAFTA
       You can follow any responses to this entry through the Comments (RSS) feed. You can leave a
       response, or trackback from your own site.




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https://www.wsj.com/world/americas/mexican-tycoons-retail-chain-ordered-to-pay-1-bi1lion-in-back-taxes-d7b6e565




           WORLD I AMERICAS



           Mexican Tycoon's Retail Chain Ordered
           to Pay $1 Billion in Back Taxes
           Companies owned by billionaire Ricardo Salinas Pliego are fighting in
           court over some $3 billion in disputed taxes

           By Santiago Perez [Follow]
           Updated June 13, 2024 6:56 pm ET




           Grupo Salinas controls retailer Grupo Elektra, and Banco Azteca is the conglomerate's banking unit.
           PHOTO: ALEJANDRO CEGARRA/BLOOMBERG NEWS



           MEXICO CITY-The flagship company of Mexican billionaire Ricardo Salinas
           Pliego must pay about $1 billion in back taxes, a Mexico court said Thursday, the
           latest ruling in a series of legal battles over what tax authorities say are some $3
           billion owed by his companies.

           The court rejected an injunction sought by Grupo Elektra against the order to
           pay the $1 billion that tax authorities say the retailer owes. Grupo Salinas, the
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conglomerate that controls Grupo Elektra, broadcaster TV Azteca and other
companies, said Thursday that it will appeal the ruling, which is likely to reach
the Supreme Court.

"We regret the lack of diligence and objectivity of some judges," the
conglomerate said in a statement. Grupo Salinas said the judges have been
pressured by the federal government.

Mexican President Andres Manuel Lopez Obrador has said that he urged Salinas
Pliego to settle the tax disputes, which have spanned more than a decade, and
even offered a discount of more than $400 million in back taxes.

                                               "We don't give in to extortion and
                                               that's why we don't accept any
                                               discounts," Salinas Pliego responded
                                               in a video recording in March.

                                               The fight with Elektra over the
                                               payment of $1 billion in back taxes,
                                               plus interest, is the biggest of17 tax
                                               disputes with firms owned by Salinas
                                               Pliego, authorities say.

                                                  Earlier this month, another court
Ricardo Salinas Pliego is one of Mexico's richest rejected a separate injunction filed
men. PHOTO: ALEJANDRO GUZMAN/ZUMA PRESS           by Grupo Elektra over more than
                                                  $100 million in back taxes. The
company reported $10 billion in sales last year.

Salinas Pliego, one of Mexico's richest men, is among the oligarchs who emerged
in the 1990s when the government privatized state companies such as the
television network he owns. He built a retail and banking empire and became a
controversial figure in Mexico for playing hardball with authorities and using TV
Azteca to discredit adversaries. He has skipped debt payments to U.S.
bondholders for years.

In May, a U.S. federal indictment accused Rep. Henry Cuellar (D., Texas) of
accepting $238,000 in bribes disguised as consulting fees from Banco Azteca,
     Case 5:24-mc-80091-NC Document 44-2 Filed 09/17/24 Page 50 of 87
the banking unit of Grupo Salinas, to further the bank's interests in Washington
by influencing U.S. anti-money-laundering legislation. Neither Salinas Pliego nor
his bank were charged with any wrongdoing.

A spokesman for Salinas Pliego said at the time that Grupo Salinas, like many
other companies, lobbies "to safeguard the causes in which we believe and will
always defend." Banco Azteca has the highest standards of compliance, he
added.

Write to Santiago Perez at santiago.perez@wsj.com
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https://www.wsj.com/world/americas/the-mexican-bank-behind-alleged-bribes-to-a-texas-democrat-4cf4cc17




           Combative Billionaire's Bank Accused of Bribing a
                           Texas Democrat
              U.S. federal indictment of congressman alleges payments from billionaire Ricardo
                             Salinas Pliego's Banco Azteca were used to influence legislation



By Jose de Cordoba [ Follow I and Santiago Perez IFollow I
May 8, 2024 5:30 am ET



MEXICO CITY-Over three decades, Ricardo Salinas Pliego became one of Mexico's richest
men with a mix of political connections and tough tactics. Now, his bank is at the center of a
U.S. federal indictment accusing a Texas congressman of accepting bribes.

U.S. federal prosecutors say a Mexican bank channeled $238,000 in bribes disguised as
consulting fees to Rep. Henry Cuellar (D., Texas) to further the bank's interests in Washington
by influencing U.S. anti-money-laundering legislation, according to an indictment unsealed
Friday in Houston. The lender in question was Salinas Pliego's Banco Azteca, according to a
U.S. official.

Salinas Pliego is among the oligarchs who emerged in the 1990s, when Mexico sold off state
companies to private investors. He built a retail and broadcasting empire that includes Banco
Azteca focusing on low-income households, and developed a reputation as a combative
businessman who isn't afraid to play rough with creditors, competitors and regulators.

Neither Salinas Pliego nor his bank were charged with any wrongdoing. Luciano Pascoe, a
spokesman for Salinas Pliego's Grupo Salinas, which owns Banco Azteca among other
companies, said Sunday on X that the conglomerate, like many other companies, lobbies "to
safeguard the causes in which we believe and will always defend." Banco Azteca has the
highest standards of compliance, he added.

Pascoe declined to comment further on the U.S. indictment.

Cuellar, who represents a district on the Texas-Mexico border, said he is innocent. He was
released in Houston on Friday along with his wife, Imelda Cuellar, after each paid an
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unsecured $100,000 bond. The indictment also charges Cuellar with receiving $360,000 in
bribes from an Azerbaijani state oil company for helping to advance the interests of the
government of Azerbaijan.




Rep. Henry Cuellar denied wrongdoing after he was charged with accepting bribes. PHOTO: MICHAEL
MCCOY/REUTERS


Salinas Pliego is a controversial figure in Mexico, where he is mired in tax disputes with the
government over billions of dollars and has skipped debt payments to U.S. bondholders for
years. He has used his television network to discredit adversaries, and has waged protracted
courtroom battles with authorities and former partners such as General Electric.

Salinas Pliego once dispatched a squad of armed private security guards in the middle of the
night to seize control of a TV station he claimed to own. His broadcaster, TV Azteca, said at
the time that it hadn't used violence and was "exercising its rights and in full compliance with
the law."

Banco Azteca, Mexico's 10th-largest bank by assets, struggled with strict U.S. anti-money-
laundering regulations, which had made it difficult for the bank to develop correspondent-
banking relationships with American institutions that facilitate cross-border transactions in
dollars, including large amounts of cash. Multiple U.S. banks had cut ties with Banco Azteca
because of risk and compliance concerns linked to those regulations.

Pascoe said Sunday that the lack of correspondent banking affects millions of Mexicans who
receive dollars from relatives abroad, make a living from tourism, or trade on the U.S.-Mexico
border.
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According to the indictment, Cuellar agreed to advance the interests of Banco Azteca in
exchange for monthly payments of thousands of dollars to his wife via shell companies. It
included writing language into legislation that favored the bank. In 2016, Cuellar "pressured"
a high-ranking U.S. official who supervised banks to take actions that benefited the bank, the
indictment said.




Banco Azteca is Mexico's 10th largest bank by assets. PHOTO: CESAR RODRIGUEZ/BLOOMBERG NEWS

The indictment said the bank's vice chairman, who wasn't named, helped to coordinate the
alleged bribe payments and reviewed draft banking legislation shared by Cuellar.

Cuellar kept the senior Banco Azteca executive abreast of legislation and other banking
matters in Washington, the indictment said. In one email to the bank executive, Cuellar took
credit for influencing the U.S. official's approach to correspondent banks.

In another email, Cuellar said he had successfully inserted language in a bill to address Banco
Azteca's concerns, according to the indictment. "Language added in committee," wrote
Cuellar. "Great news," responded the bank executive.

In 2005, Salinas Pliego was charged by the Securities and Exchange Commission with illegally
trading in the discounted debt of a TV Azteca unit. That deal netted him a $109 million
windfall profit at the expense of other shareholders, the SEC said. He was barred from serving
as an executive or director of any publicly listed American company for five years. He settled
the charges with the SEC without admitting or denying any misconduct after paying $8.5
million in penalties against him and another senior company executive.

In the late 2000s, Salinas Pliego used shell companies to gain control of struggling fertilizer
producer Fertinal from a Mexican government agency at a discount. A decade later, after
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Fertinal had been loaded with high-interest loans from Banco Azteca, Mexico's state-run oil
firm, Pemex, acquired the fertilizer company for $635 million, a price that a government
auditor later said inflated Fertinal's equity value by nearly $200 million. Salinas Pliego denied
wrongdoing.




TV Azteca headquarters in Mexico City. PHOTO: JEOFFREY GUILLEMARD/BLOOMBERG NEWS


Salinas Pliego has built a following of 1.8 million people on X, where he blasts Mexico's leftist
government, insults officials and legislators as "gobernicolas," or government cave men, and
posts videos of himself traveling in his helicopter, sitting in his private jet, or smoking cigars
on his megayacht, the Lady Moura, which he said he bought for $150 million.

Many of his followers call him Tio Richie, or Uncle Richie. Last year, Salinas Pliego held a
contest "Win with Tio Richie" to celebrate TV Azteca's 30th anniversary, where he gave away
prizes, including a luxury home, to contestants.

The businessman, who at first was close to nationalist President Andres Manuel Lopez
Obrador, now accuses Mexican tax authorities of extorting businesses by doubling or tripling
the amount of taxes owed and then offering discounts.

"I personally pay an obscene amount of taxes, as do my companies," Salinas Pliego said in a
video recording posted on X. "We will not give in to any extortion."

At the same time, Salinas Pliego and Lopez Obrador traded barbs over a golf course on federal
lands that the businessman operated in the beach resort of Huatulco. In February, National
Guard soldiers took control after the government revoked Salinas Pliego's operating license
and reclassified the land as a national park.
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"I will not concede to this vision of wanting to take from the rich to give to the poor because,
in addition to being illegal and immoral, it's an exercise in arrogance," Salinas Pliego wrote on
X.

-Sadie Gurman contributed to this article.

Write to Jose de Cordoba atjose.decordoba@wsj.com and Santiago Perez at
santiago.perez@wsj.com

Appeared in the May 10, 2024, print edition as 'Mexican Bank Is Linked To Alleged Cuellar Bribes'.
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      EXHIBIT I
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                                                                                                    FitchRatings


RATING ACTION COMMENTARY

Fitch Downgrades Banco Azteca's IDRs to 'BB-'; Outlook Stable
Mon 25 Mar, 2024- 6:13 PM ET


Fitch Ratings - Monterrey - 25 Mar 2024: Fitch Ratings has downgraded Banco Azteca, S.A.
lnstitucion de Banca Multiple's {Banco Azteca) Viability Rating {VR) to 'bb-' from 'bb', its
Long-Term Foreign and Local Currency Issuer Default Ratings {IDRs) to 'BB-' from 'BB' and
its National Long-Term Rating to 'A{mex)' from 'A+{mex)'. The Rating Outlooks for the Long-
Term IDRs and National Rating are Stable.


The Short-Term Foreign and Local Currency IDRs and National Short-Term Rating were
affirmed at 'B' and 'F1 +{mex)', respectively. The 'F1 +{mex)' Short-Term National Rating is
the higher of two possible options corresponding to the 'A{mex)' Long-Term National
Rating, and reflects Fitch's opinion about the bank's good funding and liquidity profiles. The
government support rating {GSR) was also affirmed at 'bb-'.


The downgrade follows the heightened risks Banco Azteca is assuming by the weak
corporate governance practices of its controlling group and the sustained high related-
party commercial loans at the bank. Fitch also considers the deteriorated bank's risk profile
as a result of the riskier underwriting standards in its commercial portfolio with high
concentration per individual borrower that has influenced its financial performance in the
last two years.


KEY RATING DRIVERS

ESG Governance Structure: Fitch has revised the ESG Relevance Score of Governance
Structure to '5' from '4' as high related-party loans weigh relevantly in Banco Azteca's
ratings. The bank's I DRs and national scale ratings are driven by the bank's stand-alone


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However, Fitch adjusted downwards the score of the BP to 'bb' with a negative trend from
'bb+' stable, as corporate governance practices around its controlling group has increased
the bank's risks that to some extent are limiting its financial performance.


The negative trend reflects that the BP score could continue with downward adjustments if
corporate governance practices further impact the bank's financial performance. In the past
months a relevant related-party transaction deteriorated and required and will continue to
require the bank additional loan loss allowances (LLAs}. At YE23, related-party loans
represented 28.2% the bank's common equity Tier 1 (CET1}, level that Fitch considers high
and that differs from best international practices.


Systemic Importance Limits Further IDRs Downgrades: Banco Azteca's IDRs are at the
same level of the bank's GSR at 'bb-'. Fitch considers the bank's good market position and
relevant role of providing financial services to an ample share of the population will drive
the government support in case of need and limit future IDR downgrades beyond 'BB-'.


That is if Banco Azteca's VR is downgraded to 'b+' or below, the IDRs and national ratings
would be driven by the GSR considering the 'Higher Of' approach about Fitch's perception
of the government support that the bank could receive, if need arises. As of November
2023, Banco Azteca's deposits were about 2. 9% of the Mexican banking system; while it
had a 7.9% share in the consumer lending segment. In both figures it ranked eighth and fifth,
respectively.


Asset Quality Pressured by Credit Concentrations: Fitch considers the ample experience
and long track record in its core business line, which is mainly focused on middle- to low-
income customers. Banco Azteca has been handling well its core business under the high
inflationary environment despite its more sensitive business focus on low income
individuals. However, Banco Azteca's commercial loan portfolio underwriting standards
continue to add pressure on its asset quality.


At YE23, Stage 3 loans to total loans ratio decreased to 4.2% from 5.3% in 3Q23, although
write-offs increased compared to 2022 (+47.3%) partly by the above mentioned
deteriorated related party loan. At the same date, the adjusted impaired loan ratio as
calculated per Fitch (Stage 3 loans plus write-offs in the last 12 months} was 12.7% (YE22:


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by both, from its core business and commercial loans. This, despite the bank had additional
LLAs. At YE23, LI Cs increased 35.5% compared to YE22 and losses from loan portfolio sales
also weigh on the bank's recent profitability metrics. At YE23, the operating profit to risk-
weighted assets (RWA) ratio was 1.8% (YE22: 1.7%), while LI Cs to pre-impairment
operating profit ratio rose to 80.8% from 77.3% in 2022. Fitch considers the bank's
profitability performance lags from the Mexican commercial banking system and will
remain sensitive to asset quality pressures.


Reasonable Capitalization: Capitalization levels of Banco Azteca remain reasonable with a
CET1 to RWA ratio of 14.5%, above 13.7% at YE22. During the second half of 2023, the
bank's core capitalization ratio was supported by a capital injection of MXN 1.05 billion
from its shareholder (Grupo Elektra, S. A. B. de C. V., rated by Fitch at BB-/Stable), as well as
due to better efficiencies in RWA accounting through models approved by the local
regulator. Fitch expects CET1 ratio may be pressured by the continued growth of its loan
portfolio and credit concentrations, although it will remain at levels close to 14% and
supported by consistent reinvestment of earnings.


Good Funding and Liquidity Position: Fitch considers the bank's funding and liquidity
position to be its main financial strength, as it has an ample, diversified and low-cost
customer deposit franchise with proven stability through the economic cycle. At YE23,
customer deposits represented 88.0% of total non-equity funding and were mainly
composed of demand deposits (YE23: 7 6.8% of total customer deposits).


At the same date, the loans to deposits ratio was 79.0%, slightly affected with respect to
YE22 and this was mainly explained by a higher credit growth, although the core metric is
still at levels that compares favorably with peers. Liquidity coverage ratio and net stable
funding ratio remain at sustained levels above the regulatory minimum.


RATING SENSITIVITIES

Factors that Could, Individually or Collectively, Lead to Negative Rating
Action/Downgrade

--Banco Azteca's VR could be downgraded if the financial profile materially weakens due to
asset quality deterioration resulting in an operating profit to RWA metric consistently
below 1.25% and the a CET1 to RWA ratio sustained below 11%. This deterioration must be

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--Banco Azteca's ID Rs and National Ratings further downgrades are limited due to Fitch's
appreciation of government support in case of need it.


Factors that Could, Individually or Collectively, Lead to Positive Rating Action/Upgrade

--Banco Azteca's ID Rs, VR and National Ratings could be upgraded by Fitch's appreciation
of a reduced risk appetite in its commercial loan portfolio, in addition to consistently deliver
operating profit to RWA ratio above 2% and CET1 to RWA ratio above 17%;


--Strengthening of corporate governance practices of Banco Azteca's controlling group that
eases Fitch's concerns of reputational risks could also led to an upgrade.


Government Support Rating (GSR): Banco Azteca 'bb-' GSR reflects Fitch's expectation
that although the bank is not a domestic systemically important bank (D-SI B), there is
moderate probability of sovereign support in case of need, given the bank's ample base of
retail depositors and moderate market share of customer deposits.


Factors that could, individually or collectively, lead to negative rating action/downgrade:


--The GSR could be downgraded if Fitch believes that the government's propensity to
support the bank has declined due to reasons such as a material loss in the market share of
retail customer deposits.


Factors that could, individually or collectively, lead to positive rating action/upgrade:


--Upside potential for Banco Azteca's GSR is limited and could only occur over time with a
material gain in the bank's systemic importance.


VR ADJUSTMENTS

Fitch has assigned a Business Profile score of 'bb', which is below the 'bbb' category implied
score, due to the following adjustment reason(s): Management and Governance (negative).


Fitch has assigned an Asset Quality score of 'b+', which is below the 'bb' category implied
score, due to the following adjustment reason(s): Concentrations (negative).



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Fitch classified pre-paid expenses and other deferred assets as intangibles and deducted
from total equity due to the low loss absorption capacity under stress of these assets.


Sources of Information

The principal sources of information used in the analysis are described in the Applicable
Criteria.


Financial figures are in accordance to the Comision Nacional Bancaria y de Va lores criteria.
Figures for 2022 and 2023 include recent accounting changes in the process to converge to
International Financial Reporting Standards. Prior years did not include these changes and
Fitch believes they are not directly comparable.


REFERENCES FOR SUBSTANTIALLY MATERIAL SOURCE CITED AS KEY DRIVER OF
RATING

The principal sources of information used in the analysis are described in the Applicable
Criteria.


ESG CONSIDERATIONS

Fitch has revised Banco Azteca's ESG Relevance Score of Governance Structure to 'S' from
'4' due to the corporate governance concerns and the relevant related-party transactions.
This has a negative impact on the credit profile, and is relevant to the ratings in conjunction
with other factors.


The highest level of ESG credit relevance is a score of '3', unless otherwise disclosed in this
section. A score of '3' means ESG issues are credit-neutral or have only a minimal credit
impact on the entity, either due to their nature or the way in which they are being managed
by the entity. Fitch's ESG Relevance Scores are not inputs in the rating process; they are an
observation on the relevance and materiality of ESG factors in the rating decision. For more
information on Fitch's ESG Relevance Scores, visit
www.fltchratings.com/topics/esg/products#esg-relevance-scores.


                                          RATING ACTIONS




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   Banco Azteca, S.A.                                                                    BB Rating
                                    LT IDR       BB- Rating Outlook Stable
                                                                                         Outlook
                                                                                         Stable
                                    Downgrade



                                                                                         B
                                    STIDR        B       Affirmed



                                                                                         BB Rating
                                    LC LT I DR       BB- Rating Outlook Stable
                                                                                         Outlook
                                                                                         Stable
                                    Downgrade



                                                                                         B
                                    LCSTIDR          B     Affirmed



                                                                                         A+
                                    Natl LT      A(mex) Rating Outlook Stable
                                                                                         (mex) Rating
                                                                                         Outlook
                                    Downgrade
                                                                                         Stable


                                                                                         F1+(mex)
                                    Natl ST      F1 +(mex)      Affirmed



                                                                                          bb
                                    Viability     bb-       Downgrade



                                                                                          bb-
                                    Government Support          bb-     Affirmed



VIEW ADDITIONAL RATING DETAILS
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APPLICABLE CRITERIA

National Scale Rating Criteria {pub. 22 Dec 2020)

Metodologfa de Calificaciones en Escala Nacional {pub. 22 Dec 2020)

Metodologfa de Calificaci6n de Bancos - Efectiva del 28 de marzo de 2022 al 27 de
septiembre de 2023 {pub. 28 Mar 2022)

Bank Rating Criteria (pub. 15 Mar 2024) (including rating assumption sensitivity)



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   Internet Freedom and Technology and Human
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Intrinsic to the concept of Internet freedom is recognition that human rights and fundamental
freedoms must be protected both online and offline. Just as people must be able to exercise their
rights to freedoms of expression, association, religion or belief, and peaceful assembly offline,
they must also be able to exercise these same rights online.


We promote Internet access for all and the design, development, governance, and use of digital
technologies in a manner that supports democratic values and institutions, advances societal and
economic progress, and protects and promotes human rights. At the same time, we seek to
counter the misuse of digital technologies to repress, control, divide, discriminate, and/or
disenfranchise. In doing so, we work on policy and programming related to a multitude of
technologies, including surveillance technologies, artificial intelligence (Al), anti-censorship tools,
and blockchain.


Our Approach


We advance these priorities globally through a multifaceted approach that combines bilateral
diplomacy, engagement in multilateral and multi-stakeholder fora, and funding to civil society-led
policy and advocacy projects.


    Bilateral Engagement: We engage with our government counterparts in other countries,
     informed by the perspectives of multi-stakeholders, such as civil society and industry, on
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   laws, policies, and activities that impact human rights online and work to elevate concerns
   through appropriate channels and public diplomacy.

   Multilateral and Multi-Stakeholder Engagement: Working through multilateral and
   multistakeholder bodies - with civil society organizations and the private sector - we aim to
   advance norms, rules, and approaches so technology is developed and used in ways that
   reflect democratic values and ensures all people everywhere have access to an Internet that
   is open, global, interoperable, reliable, and secure. We also engage in international
   standards setting bodies to ensure that international technology standards are developed
   with respect for privacy and the protection of human rights. Our efforts include engagement
   in groups such as the:
   o   Freedom Online Coalition
   o   U.5.-E.U. Trade and Technology Council
   o   United Nations
   o   Organization for Economic Cooperation and Development (OECD)
   o   G-7
   o   G-20
   o   The Council of EuroP-e's Framework Convention on Artificial Intelligence and
       Human Rights, Democracy, and the Rule of Law

   Programming: Since 2008, the Department has invested over $320 million in global Internet
   freedom programs, which support digital safety, policy advocacy, technology, and research
   to help global Internet users overcome barriers to accessing the open Internet. Department
   programs support leading anti-censorship tools that allow millions of Internet users
   worldwide to safely connect to the uncensored Internet, which helps to:
   o   Advance U.S. business opportunitiesabroad,
   o   Foster the free flow of information across borders,
   o   Counter political repression around the world, and
   o   Protect journalists and activists operating in repressive environments from online
       censorship and malicious cyber activity.



TAGS


 Bureau of Democracy, Human Rights, and Labor      Human Rights      Internet Freedom
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Remarks on Internet Freedom
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Hillary Rodham Clinton
Secretary of State
The Newseum
Washington, DC
January 21, 2010




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SECRETARY CLINTON: Thank you very much, Alberto, for not only that kind introduction but your and your colleagues'
leadership of this important institution. It's a pleasure to be here at the Newseum. The Newseum is a monument to some of our
most precious freedoms, and I'm grateful for this opportunity to discuss how those freedoms apply to the challenges of the 21 st
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century.


Although I can't see all of you because in settings like this, the lights are in my eyes and you are in the dark, I know that there are
many friends and former colleagues. I wish to acknowledge Charles Overby, the CEO of Freedom Forum here at the Newseum;
Senator Edward Kaufman and Senator Joe Lieberman, my former colleagues in the Senate, both of whom worked for passage of
the Voice Act, which speaks to Congress's and the American people's commitment to internet freedom, a commitment that crosses
party lines and branches of government.


Also, I'm told here as well are Senator Sam Brownback, Senator Ted Kaufman, Representative Loretta Sanchez, many
representatives of the Diplomatic Corps, ambassadors, charges, participants in our International Visitor Leadership Program on
internet freedom from China, Colombia, Iran, and Lebanon, and Moldova. And I also want to acknowledge Walter Isaacson,
president of the Aspen Institute, recently named to our Broadcasting Board of Governors and, of course, instrumental in supporting
the work on internet freedom that the Aspen Institute has been doing.


This is an important speech on a very important subject. But before I begin, I want to just speak briefly about Haiti, because during
the last eight days, the people of Haiti and the people of the world have joined together to deal with a tragedy of staggering
proportions. Our hemisphere has seen its share of hardship, but there are few precedents for the situation we're facing in Port-au-
Prince. Communication networks have played a critical role in our response. They were, of course, decimated and in many places
totally destroyed. And in the hours after the quake, we worked with partners in the private sector; first, to set up the text "HAITI"
campaign so that mobile phone users in the United States could donate to relief efforts via text messages. That initiative has been
a showcase for the generosity of the American people, and thus far, it's raised over $25 million for recovery efforts.


Information networks have also played a critical role on the ground. When I was with President Preval in Port-au-Prince on
Saturday, one of his top priorities was to try to get communication up and going. The government couldn't talk to each other, what
was left of it, and NGOs, our civilian leadership, our military leadership were severely impacted. The technology community has
set up interactive maps to help us identify needs and target resources. And on Monday, a seven-year-old girl and two women were
pulled from the rubble of a collapsed supermarket by an American search-and-rescue team after they sent a text message calling
for help. Now, these examples are manifestations of a much broader phenomenon.


The spread of information networks is forming a new nervous system for our planet. When something happens in Haiti or Hunan,
the rest of us learn about it in real time - from real people. And we can respond in real time as well. Americans eager to help in the
aftermath of a disaster and the girl trapped in the supermarket are connected in ways that were not even imagined a year ago,
even a generation ago. That same principle applies to almost all of humanity today. As we sit here, any of you - or maybe more
likely, any of our children - can take out the tools that many carry every day and transmit this discussion to billions across the
world.


Now, in many respects, information has never been so free. There are more ways to spread more ideas to more people than at
any moment in history. And even in authoritarian countries, information networks are helping people discover new facts and
making governments more accountable.


During his visit to China in November, for example, President Obama held a town hall meeting with an online component to
highlight the importance of the internet. In response to a question that was sent in over the internet, he defended the right of
people to freely access information, and said that the more freely information flows, the stronger societies become. He spoke
about how access to information helps citizens hold their own governments accountable, generates new ideas, encourages
creativity and entrepreneurship. The United States belief in that ground truth is what brings me here today.


Because amid this unprecedented surge in connectivity, we must also recognize that these technologies are not an unmitigated
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blessing. These tools are also being exploited to undermine human progress and political rights. Just as steel can be used to build
hospitals or machine guns, or nuclear power can either energize a city or destroy it, modern information networks and the
technologies they support can be harnessed for good or for ill. The same networks that help organize movements for freedom also
enable al-Qaida to spew hatred and incite violence against the innocent. And technologies with the potential to open up access to
government and promote transparency can also be hijacked by governments to crush dissent and deny human rights.


In the last year, we've seen a spike in threats to the free flow of information. China, Tunisia, and Uzbekistan have stepped up their
censorship of the internet. In Vietnam, access to popular social networking sites has suddenly disappeared. And last Friday in
Egypt, 30 bloggers and activists were detained. One member of this group, Bassem Samir, who is thankfully no longer in prison, is
with us today. So while it is clear that the spread of these technologies is transforming our world, it is still unclear how that
transformation will affect the human rights and the human welfare of the world's population.


On their own, new technologies do not take sides in the struggle for freedom and progress, but the United States does. We stand
for a single internet where all of humanity has equal access to knowledge and ideas. And we recognize that the world's information
infrastructure will become what we and others make of it. Now, this challenge may be new, but our responsibility to help ensure the
free exchange of ideas goes back to the birth of our republic. The words of the First Amendment to our Constitution are carved in
50 tons of Tennessee marble on the front of this building. And every generation of Americans has worked to protect the values
etched in that stone.


Franklin Roosevelt built on these ideas when he delivered his Four Freedoms speech in 1941. Now, at the time, Americans faced
a cavalcade of crises and a crisis of confidence. But the vision of a world in which all people enjoyed freedom of expression,
freedom of worship, freedom from want, and freedom from fear transcended the troubles of his day. And years later, one of my
heroes, Eleanor Roosevelt, worked to have these principles adopted as a cornerstone of the Universal Declaration of Human
Rights. They have provided a lodestar to every succeeding generation, guiding us, galvanizing us, and enabling us to move
forward in the face of uncertainty.


So as technology hurtles forward, we must think back to that legacy. We need to synchronize our technological progress with our
principles. In accepting the Nobel Prize, President Obama spoke about the need to build a world in which peace rests on the
inherent rights and dignities of every individual. And in my speech on human rights at Georgetown a few days later, I talked about
how we must find ways to make human rights a reality. Today, we find an urgent need to protect these freedoms on the digital
frontiers of the 21 st century.


There are many other networks in the world. Some aid in the movement of people or resources, and some facilitate exchanges
between individuals with the same work or interests. But the internet is a network that magnifies the power and potential of all
others. And that's why we believe it's critical that its users are assured certain basic freedoms. Freedom of expression is first
among them. This freedom is no longer defined solely by whether citizens can go into the town square and criticize their
government without fear of retribution. Biogs, emails, social networks, and text messages have opened up new forums for
exchanging ideas, and created new targets for censorship.


As I speak to you today, government censors somewhere are working furiously to erase my words from the records of history. But
history itself has already condemned these tactics. Two months ago, I was in Germany to celebrate the 20 th anniversary of the fall
of the Berlin Wall. The leaders gathered at that ceremony paid tribute to the courageous men and women on the far side of that
barrier who made the case against oppression by circulating small pamphlets called samizdat. Now, these leaflets questioned the
claims and intentions of dictatorships in the Eastern Bloc and many people paid dearly for distributing them. But their words helped
pierce the concrete and concertina wire of the Iron Curtain.
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The Berlin Wall symbolized a world divided and it defined an entire era. Today, remnants of that wall sit inside this museum where
they belong, and the new iconic infrastructure of our age is the internet. Instead of division, it stands for connection. But even as
networks spread to nations around the globe, virtual walls are cropping up in place of visible walls.


Some countries have erected electronic barriers that prevent their people from accessing portions of the world's networks. They've
expunged words, names, and phrases from search engine results. They have violated the privacy of citizens who engage in non-
violent political speech. These actions contravene the Universal Declaration on Human Rights, which tells us that all people have
the right "to seek, receive and impart information and ideas through any media and regardless of frontiers." With the spread of
these restrictive practices, a new information curtain is descending across much of the world. And beyond this partition, viral
videos and blog posts are becoming the samizdat of our day.


As in the dictatorships of the past, governments are targeting independent thinkers who use these tools. In the demonstrations that
followed Iran's presidential elections, grainy cell phone footage of a young woman's bloody murder provided a digital indictment of
the government's brutality. We've seen reports that when Iranians living overseas posted online criticism of their nation's leaders,
their family members in Iran were singled out for retribution. And despite an intense campaign of government intimidation, brave
citizen journalists in Iran continue using technology to show the world and their fellow citizens what is happening inside their
country. In speaking out on behalf of their own human rights, the Iranian people have inspired the world. And their courage is
redefining how technology is used to spread truth and expose injustice.


Now, all societies recognize that free expression has its limits. We do not tolerate those who incite others to violence, such as the
agents of al-Qaida who are, at this moment, using the internet to promote the mass murder of innocent people across the world.
And hate speech that targets individuals on the basis of their race, religion, ethnicity, gender, or sexual orientation is reprehensible.
It is an unfortunate fact that these issues are both growing challenges that the international community must confront together. And
we must also grapple with the issue of anonymous speech. Those who use the internet to recruit terrorists or distribute stolen
intellectual property cannot divorce their online actions from their real world identities. But these challenges must not become an
excuse for governments to systematically violate the rights and privacy of those who use the internet for peaceful political
purposes.


The freedom of expression may be the most obvious freedom to face challenges with the spread of new technologies, but it is not
the only one. The freedom of worship usually involves the rights of individuals to commune or not commune with their Creator. And
that's one channel of communication that does not rely on technology. But the freedom of worship also speaks to the universal
right to come together with those who share your values and vision for humanity. In our history, those gatherings often took place
in churches, synagogues, mosques and temples. Today, they may also take place on line.


The internet can help bridge divides between people of different faiths. As the President said in Cairo, freedom of religion is central
to the ability of people to live together. And as we look for ways to expand dialogue, the internet holds out such tremendous
promise. We've already begun connecting students in the United States with young people in Muslim communities around the
world to discuss global challenges. And we will continue using this tool to foster discussion between individuals from different
religious communities.


Some nations, however, have co-opted the internet as a tool to target and silence people of faith. Last year, for example, in Saudi
Arabia, a man spent months in prison for blogging about Christianity. And a Harvard study found that the Saudi Government
blocked many web pages about Hinduism, Judaism, Christianity, and even Islam. Countries including Vietnam and China
employed similar tactics to restrict access to religious information.


Now, just as these technologies must not be used to punish peaceful political speech, they must also not be used to persecute or
silence religious minorities. Now, prayers will always travel on higher networks. But connection technologies like the internet and
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social networking sites should enhance individuals' ability to worship as they see fit, come together with people of their own faith,
and learn more about the beliefs of others. We must work to advance the freedom of worship online just as we do in other areas of
life.


There are, of course, hundreds of millions of people living without the benefits of these technologies. In our world, as I've said
many times, talent may be distributed universally, but opportunity is not. And we know from long experience that promoting social
and economic development in countries where people lack access to knowledge, markets, capital, and opportunity can be
frustrating and sometimes futile work. In this context, the internet can serve as a great equalizer. By providing people with access
to knowledge and potential markets, networks can create opportunities where none exist.


Over the last year, I've seen this firsthand in Kenya, where farmers have seen their income grow by as much as 30 percent since
they started using mobile banking technology; in Bangladesh, where more than 300,000 people have signed up to learn English on
their mobile phones; and in Sub-Saharan Africa, where women entrepreneurs use the internet to get access to microcredit loans
and connect themselves to global markets.


Now, these examples of progress can be replicated in the lives of the billion people at the bottom of the world's economic ladder.
In many cases, the internet, mobile phones, and other connection technologies can do for economic growth what the Green
Revolution did for agriculture. You can now generate significant yields from very modest inputs. And one World Bank study found
that in a typical developing country, a 10 percent increase in the penetration rate for mobile phones led to an almost 1 percent
increase in per capita GDP. To just put this into context, for India, that would translate into almost $10 billion a year.


A connection to global information networks is like an on-ramp to modernity. In the early years of these technologies, many
believed that they would divide the world between haves and have-nots. But that hasn't happened. There are 4 billion cell phones
in use today. Many of them are in the hands of market vendors, rickshaw drivers, and others who've historically lacked access to
education and opportunity. Information networks have become a great leveler, and we should use them together to help lift people
out of poverty and give them a freedom from want.


Now, we have every reason to be hopeful about what people can accomplish when they leverage communication networks and
connection technologies to achieve progress. But make no mistake - some are and will continue to use global information
networks for darker purposes. Violent extremists, criminal cartels, sexual predators, and authoritarian governments all seek to
exploit these global networks. Just as terrorists have taken advantage of the openness of our societies to carry out their plots,
violent extremists use the internet to radicalize and intimidate. As we work to advance freedoms, we must also work against those
who use communication networks as tools of disruption and fear.


Governments and citizens must have confidence that the networks at the core of their national security and economic prosperity
are safe and resilient. Now this is about more than petty hackers who deface websites. Our ability to bank online, use electronic
commerce, and safeguard billions of dollars in intellectual property are all at stake if we cannot rely on the security of our
information networks.


Disruptions in these systems demand a coordinated response by all governments, the private sector, and the international
community. We need more tools to help law enforcement agencies cooperate across jurisdictions when criminal hackers and
organized crime syndicates attack networks for financial gain. The same is true when social ills such as child pornography and the
exploitation of trafficked women and girls online is there for the world to see and for those who exploit these people to make a
profit. We applaud efforts such as the Council on Europe's Convention on Cybercrime that facilitate international cooperation in
prosecuting such offenses. And we wish to redouble our efforts.


We have taken steps as a government, and as a Department, to find diplomatic solutions to strengthen global cyber security. We
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have a lot of people in the State Department working on this. They've joined together, and we created two years ago an office to
coordinate foreign policy in cyberspace. We've worked to address this challenge at the UN and in other multilateral forums and to
put cyber security on the world's agenda. And President Obama has just appointed a new national cyberspace policy coordinator
who will help us work even more closely to ensure that everyone's networks stay free, secure, and reliable.


States, terrorists, and those who would act as their proxies must know that the United States will protect our networks. Those who
disrupt the free flow of information in our society or any other pose a threat to our economy, our government, and our civil society.
Countries or individuals that engage in cyber attacks should face consequences and international condemnation. In an internet-
connected world, an attack on one nation's networks can be an attack on all. And by reinforcing that message, we can create
norms of behavior among states and encourage respect for the global networked commons.


The final freedom, one that was probably inherent in what both President and Mrs. Roosevelt thought about and wrote about all
those years ago, is one that flows from the four I've already mentioned: the freedom to connect - the idea that governments
should not prevent people from connecting to the internet, to websites, or to each other. The freedom to connect is like the
freedom of assembly, only in cyberspace. It allows individuals to get online, come together, and hopefully cooperate. Once you're
on the internet, you don't need to be a tycoon or a rock star to have a huge impact on society.


The largest public response to the terrorist attacks in Mumbai was launched by a 13-year-old boy. He used social networks to
organize blood drives and a massive interfaith book of condolence. In Colombia, an unemployed engineer brought together more
than 12 million people in 190 cities around the world to demonstrate against the FARC terrorist movement. The protests were the
largest antiterrorist demonstrations in history. And in the weeks that followed, the FARC saw more demobilizations and desertions
than it had during a decade of military action. And in Mexico, a single email from a private citizen who was fed up with drug-related
violence snowballed into huge demonstrations in all of the country's 32 states. In Mexico City alone, 150,000 people took to the
streets in protest. So the internet can help humanity push back against those who promote violence and crime and extremism.
In Iran and Moldova and other countries, online organizing has been a critical tool for advancing democracy and enabling citizens
to protest suspicious election results. And even in established democracies like the United States, we've seen the power of these
tools to change history. Some of you may still remember the 2008 presidential election here. (Laughter.)


The freedom to connect to these technologies can help transform societies, but it is also critically important to individuals. I was
recently moved by the story of a doctor - and I won't tell you what country he was from - who was desperately trying to diagnose
his daughter's rare medical condition. He consulted with two dozen specialists, but he still didn't have an answer. But he finally
identified the condition, and found a cure, by using an internet search engine. That's one of the reasons why unfettered access to
search engine technology is so important in individuals' lives.


Now, the principles I've outlined today will guide our approach in addressing the issue of internet freedom and the use of these
technologies. And I want to speak about how we apply them in practice. The United States is committed to devoting the diplomatic,
economic, and technological resources necessary to advance these freedoms. We are a nation made up of immigrants from every
country and every interest that spans the globe. Our foreign policy is premised on the idea that no country more than America
stands to benefit when there is cooperation among peoples and states. And no country shoulders a heavier burden when conflict
and misunderstanding drive nations apart. So we are well placed to seize the opportunities that come with interconnectivity. And as
the birthplace for so many of these technologies, including the internet itself, we have a responsibility to see them used for good.
To do that, we need to develop our capacity for what we call, at the State Department, 21 st century statecraft.


Realigning our policies and our priorities will not be easy. But adjusting to new technology rarely is. When the telegraph was
introduced, it was a source of great anxiety for many in the diplomatic community, where the prospect of receiving daily
instructions from capitals was not entirely welcome. But just as our diplomats eventually mastered the telegraph, they are doing
the same to harness the potential of these new tools as well.
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And I'm proud that the State Department is already working in more than 40 countries to help individuals silenced by oppressive
governments. We are making this issue a priority at the United Nations as well, and we're including internet freedom as a
component in the first resolution we introduced after returning to the United Nations Human Rights Council.


We are also supporting the development of new tools that enable citizens to exercise their rights of free expression by
circumventing politically motivated censorship. We are providing funds to groups around the world to make sure that those tools
get to the people who need them in local languages, and with the training they need to access the internet safely. The United
States has been assisting in these efforts for some time, with a focus on implementing these programs as efficiently and effectively
as possible. Both the American people and nations that censor the internet should understand that our government is committed to
helping promote internet freedom.


We want to put these tools in the hands of people who will use them to advance democracy and human rights, to fight climate
change and epidemics, to build global support for President Obama's goal of a world without nuclear weapons, to encourage
sustainable economic development that lifts the people at the bottom up.


That's why today I'm announcing that over the next year, we will work with partners in industry, academia, and nongovernmental
organizations to establish a standing effort that will harness the power of connection technologies and apply them to our diplomatic
goals. By relying on mobile phones, mapping applications, and other new tools, we can empower citizens and leverage our
traditional diplomacy. We can address deficiencies in the current market for innovation.


Let me give you one example. Let's say I want to create a mobile phone application that would allow people to rate government
ministries, including ours, on their responsiveness and efficiency and also to ferret out and report corruption. The hardware
required to make this idea work is already in the hands of billions of potential users. And the software involved would be relatively
inexpensive to develop and deploy.


If people took advantage of this tool, it would help us target our foreign assistance spending, improve lives, and encourage foreign
investment in countries with responsible governments. However, right now, mobile application developers have no financial
assistance to pursue that project on their own, and the State Department currently lacks a mechanism to make it happen. But this
initiative should help resolve that problem and provide long-term dividends from modest investments in innovation. We're going to
work with experts to find the best structure for this venture, and we'll need the talent and resources of technology companies and
nonprofits in order to get the best results most quickly. So for those of you in the room who have this kind of talent, expertise,
please consider yourselves invited to help us.


In the meantime, there are companies, individuals, and institutions working on ideas and applications that could already advance
our diplomatic and development objectives. And the State Department will be launching an innovation competition to give this work
an immediate boost. We'll be asking Americans to send us their best ideas for applications and technologies that help break down
language barriers, overcome illiteracy, connect people to the services and information they need. Microsoft, for example, has
already developed a prototype for a digital doctor that could help provide medical care in isolated rural communities. We want to
see more ideas like that. And we'll work with the winners of the competition and provide grants to help build their ideas to scale.


Now, these new initiatives will supplement a great deal of important work we've already done over this past year. In the service of
our diplomatic and diplomacy objectives, I assembled a talented and experienced team to lead our 21 st century statecraft efforts.
This team has traveled the world helping governments and groups leverage the benefits of connection technologies. They have
stood up a Civil Society 2.0 Initiative to help grassroots organizations enter the digital age. They are putting in place a program in
Mexico to help combat drug-related violence by allowing people to make untracked reports to reliable sources to avoid having
retribution visited against them. They brought mobile banking to Afghanistan and are now pursuing the same effort in the
Democratic Republic of the Congo. In Pakistan, they created the first-ever social mobile network, called Our Voice, that has
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already produced tens of millions of messages and connected young Pakistanis who want to stand up to violent extremism.


In a short span, we have taken significant strides to translate the promise of these technologies into results that make a difference.
But there is still so much more to be done. And as we work together with the private sector and foreign governments to deploy the
tools of 21 st century statecraft, we have to remember our shared responsibility to safeguard the freedoms that I've talked about
today. We feel strongly that principles like information freedom aren't just good policy, not just somehow connected to our national
values, but they are universal and they're also good for business.


To use market terminology, a publicly listed company in Tunisia or Vietnam that operates in an environment of censorship will
always trade at a discount relative to an identical firm in a free society. If corporate decision makers don't have access to global
sources of news and information, investors will have less confidence in their decisions over the long term. Countries that censor
news and information must recognize that from an economic standpoint, there is no distinction between censoring political speech
and commercial speech. If businesses in your nations are denied access to either type of information, it will inevitably impact on
growth.


Increasingly, U.S. companies are making the issue of internet and information freedom a greater consideration in their business
decisions. I hope that their competitors and foreign governments will pay close attention to this trend. The most recent situation
involving Google has attracted a great deal of interest. And we look to the Chinese authorities to conduct a thorough review of the
cyber intrusions that led Google to make its announcement. And we also look for that investigation and its results to be
transparent.


The internet has already been a source of tremendous progress in China, and it is fabulous. There are so many people in China
now online. But countries that restrict free access to information or violate the basic rights of internet users risk walling themselves
off from the progress of the next century. Now, the United States and China have different views on this issue, and we intend to
address those differences candidly and consistently in the context of our positive, cooperative, and comprehensive relationship.


Now, ultimately, this issue isn't just about information freedom; it is about what kind of world we want and what kind of world we will
inhabit. It's about whether we live on a planet with one internet, one global community, and a common body of knowledge that
benefits and unites us all, or a fragmented planet in which access to information and opportunity is dependent on where you live
and the whims of censors.


Information freedom supports the peace and security that provides a foundation for global progress. Historically, asymmetrical
access to information is one of the leading causes of interstate conflict. When we face serious disputes or dangerous incidents, it's
critical that people on both sides of the problem have access to the same set of facts and opinions.


As it stands, Americans can consider information presented by foreign governments. We do not block your attempts to
communicate with the people in the United States. But citizens in societies that practice censorship lack exposure to outside
views. In North Korea, for example, the government has tried to completely isolate its citizens from outside opinions. This lopsided
access to information increases both the likelihood of conflict and the probability that small disagreements could escalate. So I
hope that responsible governments with an interest in global stability will work with us to address such imbalances.


For companies, this issue is about more than claiming the moral high ground. It really comes down to the trust between firms and
their customers. Consumers everywhere want to have confidence that the internet companies they rely on will provide
comprehensive search results and act as responsible stewards of their own personal information. Firms that earn that confidence
of those countries and basically provide that kind of service will prosper in the global marketplace. I really believe that those who
lose that confidence of their customers will eventually lose customers. No matter where you live, people want to believe that what
they put into the internet is not going to be used against them.
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And censorship should not be in any way accepted by any company from anywhere. And in America, American companies need to
make a principled stand. This needs to be part of our national brand. I'm confident that consumers worldwide will reward
companies that follow those principles.


Now, we are reinvigorating the Global Internet Freedom Task Force as a forum for addressing threats to internet freedom around
the world, and we are urging U.S. media companies to take a proactive role in challenging foreign governments' demands for
censorship and surveillance. The private sector has a shared responsibility to help safeguard free expression. And when their
business dealings threaten to undermine this freedom, they need to consider what's right, not simply what's a quick profit.


We're also encouraged by the work that's being done through the Global Network Initiative, a voluntary effort by technology
companies who are working with nongovernmental organizations, academic experts, and social investment funds to respond to
government requests for censorship. The initiative goes beyond mere statements of principles and establishes mechanisms to
promote real accountability and transparency. As part of our commitment to support responsible private sector engagement on
information freedom, the State Department will be convening a high-level meeting next month co-chaired by Under Secretaries
Robert Hormats and Maria Otero to bring together firms that provide network services for talks about internet freedom, because
we want to have a partnership in addressing this 21 st century challenge.


Now, pursuing the freedoms I've talked about today is, I believe, the right thing to do. But I also believe it's the smart thing to do.
By advancing this agenda, we align our principles, our economic goals, and our strategic priorities. We need to work toward a
world in which access to networks and information brings people closer together and expands the definition of the global
community. Given the magnitude of the challenges we're facing, we need people around the world to pool their knowledge and
creativity to help rebuild the global economy, to protect our environment, to defeat violent extremism, and build a future in which
every human being can live up to and realize his or her God-given potential.


So let me close by asking you to remember the little girl who was pulled from the rubble on Monday in Port-au-Prince. She's alive,
she was reunited with her family, she will have the chance to grow up because these networks took a voice that was buried and
spread it to the world. No nation, no group, no individual should stay buried in the rubble of oppression. We cannot stand by while
people are separated from the human family by walls of censorship. And we cannot be silent about these issues simply because
we cannot hear the cries.


So let us recommit ourselves to this cause. Let us make these technologies a force for real progress the world over. And let us go
forward together to champion these freedoms for our time, for our young people who deserve every opportunity we can give them.


Thank you all very much. (Applause.)


MODERATOR: Thank you. Thank you, Madame Secretary. The Secretary has agreed to answer some questions. So if
you would, there are going to be three microphones in the audience. If you would make your questions short, we'd
appreciate it. And identify yourselves, please.


Yes. Could you wait for the microphone?


QUESTION: Madame Secretary, you talked about anonymity on line and how that's something - oh, I'm sorry. I'm Robert
(inaudible). I'm with Northern Virginia Community College. I'm sorry.


STAFF: Could you hold the microphone up, please?
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QUESTION: Sorry.


STAFF: Thank you.


QUESTION: You talked about anonymity on line and how we have to prevent that. But you also talk about censorship by
governments. And I'm struck by - having a veil of anonymity in certain situations is actually quite beneficial. So are you
looking to strike a balance between that and this emphasis on censorship?


SECRETARY CLINTON: Absolutely. I mean, this is one of the challenges we face. On the one hand, anonymity protects
the exploitation of children. And on the other hand, anonymity protects the free expression of opposition to repressive
governments. Anonymity allows the theft of intellectual property, but anonymity also permits people to come together in
settings that gives them some basis for free expression without identifying themselves.

None of this will be easy. I think that's a fair statement. I think, as I said, we all have varying needs and rights and responsibilities.
But I think these overriding principles should be our guiding light. We should err on the side of openness and do everything
possible to create that, recognizing, as with any rule or any statement of principle, there are going to be exceptions.


So how we go after this, I think, is now what we're requesting many of you who are experts in this area to lend your help to us in
doing. We need the guidance of technology experts. In my experience, most of them are younger than 40, but not all are younger
than 40. And we need the companies that do this, and we need the dissident voices who have actually lived on the front lines so
that we can try to work through the best way to make that balance you referred to.


MODERATOR: Forty may be (inaudible).


SECRETARY CLINTON: (Laughter.)


MODERATOR: Right over here. Yes.


QUESTION: Hi, my name is Courtney Radsch. I'm the Global Freedom of Expression officer at Freedom House. And I
wanted to ask you - you spoke about business and relying on them to do the moral, right thing and not put profits first.
But the goal of business is to make a profit. So what kind of teeth are going to be put into this? What role does the World
Trade Organization play? And how are you going to encourage them to do the right thing?


SECRETARY CLINTON: Well, again, I think this is one of the issues that we want to have a very vigorous discussion
about. I know that asking business, which is in business to make a profit, to do the right thing is not always easily
translated into practical practice. On the other hand, I think there is a broader context here. It's - companies that don't
follow the sanitary and hygiene procedures of a prior generation pay a price for it. And government and business have to
constantly be working together to make sure that the food and other products that end up on the shelves of consumers
around the world are safe, because individual consumers in a global interconnected economy can't possibly exercise that
vigilance on their own.


Similarly, when it comes to censorship, we believe that having an international effort to establish some rules over internet
connectivity and trying to protect the basic freedoms I discussed is in the long-term interest of business, and frankly, I
would argue, governments. I used the example from the fall of the Berlin Wall. It is very hard to keep information out. It
was hard to keep it out at a prior age; it is even harder now. And trying to adjust to that, work with that, and learn from
that about what could be done better is going to challenge every single government in the world.
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So I think business, as such a driver of economic growth globally, has to have that in mind, both when they go into
countries and when they confront the kind of censorship that we're hearing about around the world. It's particularly acute
for the technology companies, the media companies obviously, but it's not in any way limited to them. Other companies
are facing censorship as well. So this is an issue that we have to surface and we have to talk about and we have to try to
find as much common ground and then keep claiming more common ground as we go forward.


MODERATOR: We have a question way over here on the left.


QUESTION: Thank you. My name is Aly Abuzaakouk. I'm the director of Libya Forum website, promoting democracy and
human rights and civil society in Libya.


We have been attacked and hacked many times. I would like Madame Secretary to tell me how can you help those
voices which do not have, you know, the technology or the money to protect themselves, protect them against the
hackers which are the silencers of voices from outside the countries which lacks freedom and freedom of expression.


SECRETARY CLINTON: Well, this is one of the issues that we are debating and we're looking for ideas as to how we
can answer it in a positive way. We would invite your participation. After I take the last question, Anne-Marie Slaughter,
the Director of my Policy Planning unit inside the State Department and someone - the former dean of the Woodrow
Wilson School who has written a lot about interconnectivity and how we have to begin to look at the world as the
networked reality that it is, will be leading a discussion. And I hope some of you with ideas, suggestions, cautions, worries
will stay and really get into an in-depth discussion about that.


MODERATOR: Thank you. And right here in the mezzanine, right next to the microphone.


QUESTION: Dr. Nguyen Dinh Thang with BPSOS. We serve Vietnamese Americans and work with Vietnamese in
Vietnam. While your initiative will take some time to take effect, just recently, in recent months, the Vietnamese
Government sentenced several bloggers to five years all the way to 16 years in prison. So what does your office plan to
do, and how the U.S. Government can confront such an emergency situation in Vietnam?


SECRETARY CLINTON: Well, we have publicly spoken out against the detention, conviction, and imprisonment of not
only the bloggers in Vietnam, but some of the Buddhist monks and nuns and others who have been subjected to
harassment.


Vietnam has made so much progress, and it's just moving with great alacrity into the future, raising the standard of living
of their people. And we don't believe they should be afraid of commentary that is internal. In fact, I would like to see more
governments, if you disagree with what a blogger or a website is saying, get in and argue with them. Explain what it is
you're doing. Put out contrary information. Point out what the pitfalls are of the position that a blogger might be taking.


So I hope that Vietnam will move more in that direction, because I think it goes hand in hand with the progress that we've
seen in the last few years there.


MODERATOR: Thank you. Up in the back.


QUESTION: Nora von lngersleben with the Association for Competitive Technology. Madame Secretary, you mentioned
that U.S. companies have to do the right thing, not just what is good for their profits. But what if I am a U.S. company and
I have a subsidiary in China and the Chinese Government is coming after my guys for information and, you know, we
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have resisted but now my guys have been taken to jail, my equipment is being hauled away. In that situation, what can
the State Department do? Or what will the State Department do?


SECRETARY CLINTON: Well, we obviously speak out on those individual cases. And we are, as I said, hoping to
engage in a very candid and constructive conversation with the Chinese Government. We have had a positive year of
very open discussions with our Chinese counterparts. I think we have established a foundation of understanding. We
disagree on important issues with them. They disagree on important issues with us. They have our perspective; we have
our perspective. But obviously, we want to encourage and support increasing openness in China because we believe it
will further add to the dynamic growth and the democratization on the local level that we see occurring in China.


So on individual cases, we continue to speak out. But on the broader set of issues, we hope to really have the kind of
discussion that might lead to a better understanding and changes in the approach that is currently being taken.


MODERATOR: Thank you.


Up in the very back in the center, if you could come to the aisle so we can get a microphone to you, and then we'll come
back down here. Thank you.


QUESTION: Imam Mohamed Magid from ADAMS Center in Virginia. My question for you, Madame Secretary: When you
talk about social networking, we're trying to address the issue of youth in the West, Muslim youth. Would you be open to
the youth forum to speak about foreign policy? Because one of the reason that youth be radicalized, they don't have a
way to express themselves when they disagree with the United States Government or their own government overseas.
Would you be open to those ideas?


SECRETARY CLINTON: Yes, we would. In fact, we - in the wake of the President's speech in Cairo, we have been
expanding dramatically our outreach, particularly to Muslim youth. I agree with you completely, sir, that not only young
people in the Muslim world, but young people across the world are increasingly disconnected from authority, from
government, from all kinds of institutions that have been historically the foundations of society, because they are so
interconnected through the internet, something that my generation can't really understand.


In America, the average young person spends eight hours a day with media. The internet, cell phones, television - I
mean, you think about that. Eight hours a day. That's more time than they spend in school, that's more time than they
spend with their families. It's often more time than they spend asleep.


So when you think about the power of this information connection to young people, I don't think it should cause panic in
people my age. I don't think we should begin trying to stop it and prevent it. We ought to figure out how better to utilize it.
You go back to the millennia; how were values passed around? Sitting around a fire, how were values communicated? In
the homes by parents and grandparents. Now, values are being communicated by the internet, and we cannot stop it.


So let's figure out how better to use it, participate in it, and particularly to focus on the needs of young people. They're
often looking for information. They're looking for answers. At least until now, in most cultures that I'm aware of, despite all
of the time that young people spend with technology, when they're asked who do they look to for guidance about values,
they still say their families. But if families increasingly feel disconnected from their highly connected young people and
don't know what their young people are doing online, then we see the problems that can result.


And there are so many manipulators on line right now, not just stoking the anxieties and the fears of Muslim youth, but
youth everywhere, defined by all kinds of characteristics.
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So we have our own work to do, not just through our government but through our families, through our education
systems, and every other institution to make sure we understand the power of this technology and to engage with young
people through it and about it.


MODERATOR: I see a lot of hands going up as you speak. Let's try over here on the far right.
Yes, the young lady there.


QUESTION: Thank you very much, Madame Secretary. Bahgi Gilamichael with the Sullivan Foundation. And also, thank
you for inviting us to apply for grants. Now I'm interested in knowing what are the procedures, what is the agency we
need to deal with, and if you have someone in the room we can follow up with on that? Thank you so much.


SECRETARY CLINTON: Thank you. Well, in addition to our panel, we have a lot of the members of our team who are
working on these initiatives, and we can certainly connect up. If we invited you, we know how to find you. So we will
make sure you get information about all of these programs, the ones that already exist and the ones that we're rolling out.


MODERATOR: There's no anonymity in this room. (Laughter.)


We have actually time for one more question, but I really would encourage you to stay for the panel that Anne-Marie
Slaughter will chair on connection technologies and diplomacy immediately following. And I'm sure some of the questions
will get answered.


So let's do one last question over here on the far left, down below here. Can we get a mike? Thank you.


QUESTION: Hello. Thank you so much. I appreciated your wonderful program speech. I'm Mary Perkins from Howard
University, and at Howard University, we - very much interested in particular aspects of the internet with respect to the
digital divide. Or - in your story about the young girl being pulled out of the rubble because of the text message she was
able to send brings to mind - the question in my mind, how many others could have been saved had they had that
technology?


SECRETARY CLINTON: Absolutely.


QUESTION: And so we're very interested in knowing, in terms of access, the - not only internet freedom but free internet
for all, the universal service aspect, and what can be done, particularly right now for Haiti, with this.


SECRETARY CLINTON: Well, as - thank you for that. As you know, that is a continuing issue for us and for many countries
around the world. We're at 4 billion cell phones. And certainly, the cell phone is becoming the principal tool of communication, both
through the applications that are on it, through the texting that it enables. And there are a lot of groups, NGOs, and even
businesses that are passing out and providing cell phones at very low cost.


We just have to keep incentivizing and encouraging the technology to be as low cost as possible so it can be as ubiquitous as
possible.


But I think we've made enormous progress. Ten years ago, we talked a lot about the digital divide even in our own country. We are
overcoming it, but there are still questions of access, still questions of cost. Now, obviously, we have to recognize that a lot of the
search engines are run by for-profit companies. They're not - it's not going to be free. But there are lots of ways of trying to
encourage more universal access. And that's part of the Obama Administration's overall policy on technology, not just the
diplomatic and development aspects of it.
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Thank you, Professor.


MODERATOR: Thank you, Madame Secretary. Thank you very much.


SECRETARY CLINTON: Thank you, Alberto. Thank you very much. Thank you. (Applause)



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